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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                 Case No. 21-22492-CIV-WILLIAMS

   NORWEGIAN CRUISE LINE
   HOLDINGS, LTD., et al.

              Plaintiffs,

   vs.

   SCOTT RIVKEES, M.D.,

              Defendant.
                                         /

                             ORDER ON PRELIMINARY INJUNCTION

              THIS MATTER is before the Court on Plaintiffs’ Motion for Preliminary Injunction.

   (DE 3.) Defendant filed a response (DE 32) and Plaintiffs filed a reply (DE 35). On August

   6, 2021, the Parties appeared before the Court for oral argument on the Motion. For the

   reasons below, the Motion (DE 3) is GRANTED.

         I.       BACKGROUND

               On July 13, 2021, Plaintiffs—Norwegian Cruise Line Holdings Ltd.; NCL

   (Bahamas) Ltd., d/b/a Norwegian Cruise Line; Seven Seas Cruises S. De R.L., d/b/a

   Regent Seven Seas Cruises; and Oceania Cruises S. De R.L., d/b/a/ Oceania Cruises

   (collectively, “Plaintiffs” or “NCLH”)—initiated this action against Dr. Scott Rivkees, the

   Surgeon General of Florida and the head of the Florida Department of Health

   (“Defendant”). (DE 1.) After 15 months of suspended operations, NCLH plans to resume

   passenger cruises from Florida on August 15, 2021 on the Norwegian Gem. (Id. at ¶ 1.)

   NCLH has adopted a policy requiring all passengers on its vessels to be fully vaccinated




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   against COVID-19 and to provide documentation confirming their vaccination status

   before boarding. (Id. at ¶¶ 4, 35.)

          Plaintiffs assert that a recently-enacted Florida law, codified at Fla. Stat. §

   381.00316 (“Section 381.00316” or “the Statute”), prevents them from implementing the

   vaccination policy for vessels departing from Florida. (Id. at ¶ 122.) Under the Statute,

   Plaintiffs are prohibited from requiring passengers to provide “any documentation

   certifying COVID-19 vaccination or post-infection recovery” prior to boarding. Fla. Stat. §

   381.00316. NCLH explains that if it cannot maintain its vaccination policy in Florida, it

   would be forced to either cancel all voyages leaving from the state or allow unvaccinated

   passengers to sail, and both options would cause significant financial and reputational

   harms. (DE 3 at 17–19.)

          NCLH brings this as-applied constitutional challenge, arguing that the Statute

   violates its rights under the First Amendment, the dormant Commerce Clause, and

   Substantive Due Process. (DE 1.) It also claims that the Statute is preempted by the

   CDC’s Conditional Sailing Order (“CSO”) and subsequent instructions. Plaintiffs have

   asked the Court to enjoin the enforcement of Section 381.00316 pending resolution on

   the merits of their claims. Upon a review of the record, and with the benefit of oral

   argument, the Court finds that Plaintiffs are entitled to a preliminary injunction.

             A. The COVID-19 Pandemic

          The COVID-19 pandemic has had a devastating global impact. In the United

   States, people quarantined and avoided social gatherings for many months, public life

   essentially shut down, and businesses closed. Now, nearly a year and a half into the

   pandemic, businesses have resumed operations. However, as society endeavors to



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   “reopen,” these businesses face unprecedented challenges, including the understandably

   difficult tasks of restoring consumer confidence and minimizing the spread of COVID-19.

   In addition, the nation is now threatened by new virus variants that are more transmissible

   than the initial strain.

           Preventing the spread of COVID-19—a highly contagious infectious disease

   caused by the novel coronavirus (SARS-Cov-2)—has been an extraordinarily difficult and

   complex undertaking that is now complicated by the advent of lineage B.1.617 of SARS-

   CoV-2 (“the Delta Variant”). The principal mode by which COVID-19 spreads is through

   exposure to respiratory fluids carrying infectious virus, which can occur through direct

   inhalation; depositing fluids on exposed mucous membranes in the mouth, nose, or eye

   through sprays; and touching mucous membranes with contaminated hands. 1 Since its

   onset, COVID-19 has infected almost 200 million people and caused over 4.2 million

   deaths globally. 2 Domestically, over 35.67 million people have been infected and over

   614,200 individuals have died. 3 Those who are immunocompromised, have certain

   medical conditions, suffer from longstanding systemic and social inequities, or who are

   older are more likely to become severely ill or die from the virus. 4 Individuals infected


   1 Ctrs. for Disease Control & Prevention, Scientific Brief: SARS-COV-2 Transmission (May 7, 2021),
   https://www.cdc.gov/coronavirus/2019-ncov/science/science-briefs/sars-cov-2-transmission.html.

   2World Health Org., WHO Coronavirus (COVID-19) Dashboard, https://covid19.who.int/ (last visited Aug.
   5, 2021).
   3Ctrs. for Disease Control & Prevention, United States COVID-19 Cases, Deaths, and Laboratory Testing
   (NAATs) by State, Territory, and Jurisdiction, https://covid.cdc.gov/covid-data-tracker/#cases_cases
   per100klast7days (last visited Aug. 5, 2021).
   4 Ctrs. for Disease Control & Prevention, People with Certain Medical Conditions (May 13, 2021)

   [hereinafter “People With Certain Medical Conditions”], https://www.cdc.gov/coronavirus/2019-ncov/need-
   extra-precautions/people-with-medical-conditions.html#MedicalConditionsAdults; Ctrs. for Disease Control
   & Prevention, Older Adults (July 3, 2021), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
   precautions/older-adults.html.


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   with COVID-19 experience a range of symptoms from none at all (asymptomatic) to

   severe illness and death. 5 While the majority of those afflicted have been able to recover

   fully, even after recovery, various long-term health problems may linger. 6

             In January 2020, the first case of COVID-19 was detected in the nation. 7 Since

   then, the number of confirmed cases have multiplied exponentially in this country, which

   has now already experienced four waves of new cases. 8 This past winter was particularly

   harsh: on January 8, 2021, the Centers for Disease Control and Prevention (“CDC”)

   reported 312,325 new cases, the highest number in a single day since the start of the

   pandemic. 9

             Since then, vaccines have played a vital role in slowing the spread. COVID-19

   vaccines first became available in the United States in December 2020 and became

   widely available to the public by spring 2021. 10 As of the date of this Order, the U.S. Food



   5   People With Certain Medical Conditions, supra note 4.

   6 Ctrs. for Disease Control & Prevention, COVID-19 Trends Among Persons Aged 0-24 Years—United
   States, March 1-December 12, 2020 (Jan. 13, 2021), https://www.cdc.gov/mmwr/volumes/70/wr/
   mm7003e1.htm. Studies have shown that children and young people may have fewer severe COVID-19
   outcomes than adults. The Court notes that more recent information on the Delta Variant suggests that it
   impacts a younger demographic with more serious symptoms. See generally Kathy Katella, 5 Things to
   Know About the Delta Variant, Yale Medicine (Aug. 3, 2021) [hereinafter “5 Things to Know”] (“Kids and
   young people are a concern as well. ‘A recent study from the United Kingdom showed that children and
   adults under 50 were 2.5 times more likely to become infected with Delta[]’”), https://www.yalemedicine.org
   /news/5-things-to-know-delta-variant-covid.
   7  Derrick Bryson Taylor, A Timeline of the Coronavirus Pandemic, N.Y. Times (Mar. 17, 2021),
   https://www.nytimes.com/article/coronavirus-timeline.html.
   8Ctrs. for Disease Control & Prevention, Trends in Number of COVID-19 Cases and Deaths in the US
   Reported to CDC, by State/Territory [hereinafter “CDC COVID-19 Trends”], https://covid.cdc.gov/covid-
   data-tracker/#trends_dailytrendscases (last visited Aug. 5, 2021).
   9   Id.
   10 Ben Guarino, Ariana Eunjung Cha, Josh Wood & Griff Witte, ‘The weapon that will end the war’: First
   coronavirus vaccine shots given outside trials in U.S., Wash. Post (Dec. 14, 2020 5:50 PM),
   https://www.washingtonpost.com/nation/2020/12/14/first-covid-vaccines-new-york/.


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   and Drug Administration has authorized three COVID-19 vaccines for emergency use:

   Pfizer-BioNTech, Moderna, and Johnson & Johnson’s Janssen. 11                   The Pfizer and

   Moderna vaccines are 95 percent effective against the original version of COVID-19 and

   90 percent against the Delta Variant. (DE 3-4 at ¶ 14). They have also been shown to

   reduce the risk of transmission from a fully vaccinated person by 80 to 90 percent. (Id. at

   ¶ 14.)      Likewise, Johnson & Johnson’s Janssen vaccine provides strong protection

   against severe illness against all known variants. (Id.) With the vaccine rollout, the

   number of new infections per day dropped significantly. On June 21, 2021, there were

   only 8,420 new reported cases. 12

              Despite those recorded improvements, the United States is currently experiencing

   yet another wave of infection surge. The number of new infections per day has been on

   the rise since late June, with 124,928 new cases reported on August 6, 2021. 13 One

   cause of this surge is the rapid spread of the Delta Variant, a highly-transmissible variant

   that is 50 percent more contagious than the initial strain. 14 The Delta Variant is now the

   predominant strain of COVID-19 threatening public health, comprising approximately 83.2

   percent of recent U.S. cases. 15 Although the vaccination rate increased rapidly from




   11 U.S. Food & Drug Admin., COVID-19 Vaccines (Aug. 3, 2021), https://www.fda.gov/emergency-

   preparedness-and-response/coronavirus-disease-2019-covid-19/covid-19-vaccines.
   12   CDC COVID-19 Trends, supra note 8.

   13   Id.
   145 Things to Know, supra note 6; Ctrs. for Disease Control & Prevention, COVID Data Tracker Weekly
   Review (Aug. 6, 2021) [hereinafter “CDC COVID Data Tracker”], https://www.cdc.gov/coronavirus/2019-
   ncov/covid-data/covidview/index.html.
   15   CDC COVID Data Tracker, supra note 14.


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   January to May 2021, it has remained relatively stagnant for several months. 16 As of the

   date of this Order, 50.1 percent of the total U.S. population are fully vaccinated. 17

   Unfortunately, “[n]ew COVID-19 cases often originate in unvaccinated individuals.”

   Klaassen v. Trustees of Indiana Univ., 2021 WL 3073926, at *4 (N.D. Ind. July 18, 2021).

           Since the end of June, the number of new COVID-19 cases has increased

   dramatically in Florida, which now accounts for 20 percent of all new cases in the United

   States. (DE 35-2 at ¶ 5.) On August 7, 2021, the CDC reported 23,903 new daily COVID-

   19 cases in Florida, “the highest single-day case count in [the State] since the pandemic

   began last year.” 18 The rate of new cases increased 780 percent in Florida from late June

   to late July 2021. (DE 35-2 at ¶ 5.) In contrast, the national rate increased 480 percent

   during the same period. (Id.)

               B. The Cruise Industry During the Pandemic

                           1. Risks of COVID-19 onboard a Cruise Ship

           From its onset, the pandemic has had a ruinous economic impact on the U.S.

   cruise industry, which was shut down from March 2020 until recently, when cruise lines

   embarked on a few “simulated” and “restricted” revenue voyages pursuant to CDC

   guidelines. See infra at 14−15. During the early days of the pandemic, major COVID-19


   16 Id. In response to the rapid spread of the Delta Variant, it has been reported that demand for COVID-19
   vaccines has increased during the past couple of weeks. See Dan Goldberg & Tucker Doherty, Vaccine
   demand jumps in states pummeled by Delta variant, Politico (Aug. 6, 2021 12:50 PM),
   https://www.politico.com/news/2021/08/06/vaccine-demand-states-delta-502701;            Eduardo    Medina,
   Demand for shots is increasing in less-vaccinated states under siege from the Delta variant, N.Y. Times
   (July 31, 2021), https://www.nytimes.com/2021/07/31/world/less-vaccinated-covid-shots.html.

   17  Ctrs. for Disease Control & Prevention, COVID-19 Vaccinations in the United States,
   https://covid.cdc.gov/covid-data-tracker/#vaccinations (last visited Aug. 7, 2021).
   18 Howard Cohen & David J. Neal, Florida COVID update: Record-breaking 23,903 new cases, more people

   than ever in hospital, Miami Herald (Aug. 7, 2021 4:35 PM), https://www.miamiherald.com/
   news/coronavirus/article253335513.html.


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   outbreaks occurred on the cruise ships Diamond Princess and Grand Princess. 85 Fed.

   Reg. at 70155. Among the 3,711 Diamond Princess passengers and crew, 712 (19.2

   percent) were infected with COVID-19: 37 persons required intensive care and nine died.

   Id. Outbreaks on two voyages of the Grand Princess caused 159 infections and eight

   deaths. Id.

         Even with precautions, cruising raises unique risks of COVID-19 outbreaks,

   concerns that are now heightened due to the Delta Variant. Cruise ships involve the

   movement of a large volume of individuals in close quarters for days and weeks and

   present many opportunities for person-to-person contact in crowded or indoor settings,

   such as group and buffet dining, entertainment events, and excursions. Id. at 16629–

   16630. Ship cabins are small, increasing the risk of transmission between cabinmates.

   Id. Similarly, the crew typically live and eat in small congregate places. Id. In addition,

   once a cruise concludes, passengers may engage in air transportation or other types of

   common transports to return home.         Id.       Consequently, infected passengers who

   disembark and return to their communities could occasion further widespread

   transmission and possibly “super spreader” events. Id.

                       2. The CDC’s No Sail Order and Conditional Sailing Order

         In light of these risks, on March 13, 2020, NCLH and other members of the Cruise

   Line International Association (“CLIA”) voluntarily suspended all cruise ship operations

   for thirty days. (DE 3-1 at ¶ 7); see also 85 Fed. Reg. at 16631. Concerned that cruising

   could “markedly increase[] the risk and impact of the COVID-19 disease outbreak within

   the United States,” the CDC also began to regulate the cruise industry through a series

   of orders and technical instructions. 85 Fed. Reg. at 16630.



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          On March 14, 2020, the CDC issued the No Sail Order, which prohibited cruise

   ship operators from continuing operations unless approved by the U.S. Coast Guard in

   consultation with the CDC. Id. at 16631. The No Sail Order was extended three times

   before expiring on October 31, 2020. Id. at 62739. On November 4, 2020, the CDC

   issued the CSO, which established a four-step framework for a “phased resumption of

   cruise ship passenger operations.” Id. at 70153. The steps include: (1) establishing

   “laboratory testing of crew onboard cruise ships in the U.S. waters”; (2) performing

   “simulated voyages designed to test a cruise ship operators’ ability to mitigate COVID-19

   on cruise ships”; (3) completing “a certification process”; and (4) resuming restricted

   passenger voyages in a manner that mitigates the spread of COVID-19. Id. at 70157.

   The CSO remains effective until November 1, 2021. 19 Id. at 70163. Furthermore, the

   CDC reserves its right to enforce the provisions of the CSO by issuing additional technical

   instructions as needed. Id. at 70153.

          While the CSO outlined a path for cruises to resume, some industry

   representatives complained that it lacked sufficient implementing instructions and

   expressed their dismay at potentially losing another summer of sailing. (DE 3 at 3.) The

   CDC responded with a series of letters and instructions. (Id.) On April 28, 2021, it issued

   a “Dear Colleague” letter that acknowledged the CDC’s commitment to the “phased

   resumption of passenger operations in the United States” by mid-summer and recognized

   the advent of “scientific developments” including COVID-19 vaccines. (DE 3-2 at 4–7.)




   19The CSO may become ineffective earlier, if either of the following events occurs before November 1,
   2021: (1) the “expiration of the Secretary of Health and Human Services’ declaration that COVID-19
   constitutes a public health emergency,” or (2) “the CDC Director rescinds or modifies the order based on
   specific public health or other consideration.” 85 Fed. Reg. at 70163.


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   The letter suggested that, instead of a simulated voyage, cruise lines could satisfy step

   two of the framework through an alternative method: (1) attesting that 98 percent of crew

   members are fully vaccinated; and (2) submitting to the CDC “a clear and specific

   vaccination plan and timeline to limit cruise ship sailings to 95 percent of passengers who

   have been verified by the cruise ship operator as fully vaccinated prior to sailing”

   (“Attestation Method”).          (Id. at 7.)    On May 14, 2021, the CDC issued technical

   instructions (“Instructions”) confirming that in lieu of a simulated voyage, cruise ships

   could satisfy step two through the Attestation Method. (DE 3-2 at 9–17). The Instructions

   also reduced the vaccination requirement for crew members from 98 percent to 95

   percent. (Id.) On May 26, 2021, the CDC issued an operation manual (“Manual”), setting

   forth mandatory COVID-19 protocols for simulated and restricted passenger voyages.

   (Id. at 19–32.) The Manual offers more lenient, alternative operational possibilities for

   ships with at least 95 percent vaccinated crew members and 95 percent vaccinated

   passengers; for these ships, the Manual’s requirements on physical distancing and food

   services are recommendations only. (Id.)

           Arguing that the CSO framework would delay the reopening of the cruise industry

   because “no cruise company ha[d] begun phase-two test voyages,” on April 8, 2021,

   Florida filed a lawsuit against the CDC in the Middle District of Florida, seeking to strike

   down the CSO and its subsequent instructions. 20 See Florida v. Becerra, No. 8-21-CIV-

   839-SDM (M.D. Fla. April 8, 2021). On June 18, 2021, Judge Steven D. Merryday issued



   20 The State of Florida challenged the CSO on several grounds including that: (1) the CSO exceeded the

   CDC’s statutory and regulatory authority, (2) the CDC acted arbitrarily and capriciously by issuing the CSO,
   (3) the CDC unreasonably delayed agency action, (4) the CDC failed to conduct proper notice and comment
   rulemaking, and (5) the enabling statute, 42 U.S.C. § 264, constitutes an unconstitutional delegation of
   legislative authority. See Becerra, 2021 WL 2514138, at *1-*4.


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   a preliminary injunction prohibiting the CDC from “enforcing against a cruise ship arriving

   in, within, or departing from a port in Florida the Conditional Sailing Order” and

   subsequent instructions. Becerra, 2021 WL 2514138, at *51 (M.D. Fla. June 18, 2021).

   The CSO was stayed in Florida until July 18, 2021, at which point the CSO and

   subsequent instructions issued by the CDC would exist only as a “non-binding

   consideration, recommendation, or guideline.” Id. (internal quotations omitted).

           On appeal to the Eleventh Circuit, the CDC sought a stay of the injunction, pending

   resolution of the appeal. See Florida v. Sec’y, Dep’t of Health & Hum. Servs., No. 21-

   12243 (11th Cir. July 6, 2021). On July 17, 2021, the Eleventh Circuit granted the CDC’s

   request for a stay. See Sec’y, Dep’t of Health & Hum. Servs., No. 21-12243 (11th Cir.

   July 17, 2021). However, on July 23, 2021, the Eleventh Circuit reversed course by

   vacating the July 17 order and denying the request for a stay. 21 See Sec’y, Dep’t of

   Health & Hum. Servs., No. 21-12243 (11th Cir. July 23, 2021). Without a further stay, the

   CSO and subsequent CDC instructions now appear to be non-binding guidelines for

   vessels departing from and arriving to Florida ports.                   Nevertheless, all cruise lines

   operating in Florida have agreed to continue following the CDC order and instructions on

   a voluntary basis. 22




   21 In the July 17, 2021 order, the Eleventh Circuit stated that a written order explaining its decision would
   be issued. See Sec’y, Dep’t of Health & Hum. Servs., No. 21-12243 (11th Cir. July 17, 2021). However,
   in the July 23, 2021 order, the Court reversed its position but did not issue an accompanying written opinion.
   See Sec’y, Dep’t of Health & Hum. Servs., No. 21-12243 (11th Cir. July 23, 2021).

   22 Taylor Dolven, Here’s what you need to know if you are taking a Florida cruise this summer, Miami Herald

   (July 28, 2021 5:32 PM), https://www.miamiherald.com/news/business/tourism-cruises/article253058338
   .html.


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               C. The Norwegian Gem

           After nearly a year and half without sailing, NCLH intends to resume sailing from

   Florida in about a week. (See DE 3 at 7.) NCLH, a public corporation based in Miami,

   Florida, recently developed a multi-million-dollar terminal at PortMiami with Miami-Dade

   County. 23 (DE 3-1 at ¶ 4.) From March 13, 2020 until very recently, 24 NCLH’s entire 28-

   vessel fleet was docked and inactive due to the pandemic and the company had

   repatriated nearly 30,000 crew members to their respective countries. (DE 3-1 at ¶¶ 7–

   9.) To date, the halt in operations has cost NCLH more than $6 billion. (Id. at ¶ 10.)

           NCLH plans to resume sailing from Florida for the first time since the pandemic

   aboard the Norwegian Gem. (See DE 3 at 7.) On July 9, 2021, the CDC approved the

   Norwegian Gem’s application for a Conditional Sailing Certificate. (DE 3 at 12 (citing DE

   3-1 at ¶ 20).) The vessel fulfilled the second step of the CSO framework through the

   Attestation Method, instead of a simulated sail. (DE 3-1 at ¶ 20; DE 3-2 at 34.) Starting

   August 15, 2021, the Norwegian Gem will offer several passenger voyages from Florida

   to the Bahamas, Honduras, Belize, Mexico, the Dominican Republic, the U.S. Virgin

   Islands, and the British Virgin Islands. (DE 3-1 at ¶ 23.) To date, over 1,200 passengers

   have already booked tickets for the Norwegian Gem’s August 15 voyage. (Id.)

           In resuming sail, NCLH and other cruise lines face the difficult challenge of

   restoring consumer confidence while assuaging concerns about COVID-19 exposure and


   23Taylor Dolven, PortMiami is remaking the city’s skyline for $1.5 billion, one cruise terminal at a time,
   Miami Herald (Nov. 4, 2019), https://www.miamiherald.com/news/business/tourism-cruises/article236564
   698.html.

   24 On July 25, 2021, the Norwegian Jade became the first of NCLH’s ships to resume commercial services

   from Athens, Greece. Grace Dean, Norwegian Cruise Line has finally restarted sailing after a 500-day
   suspension. All passengers on the 7-day Greek Isles cruise must be vaccinated and wear masks., Insider
   (July 27, 2021 7:43 AM), https://www.businessinsider.com/NCLH-cruise-line-restarts-sailing-pandemic-
   covid-greek-isles-jade-2021-7.

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   outbreaks. According to a May 2021 poll, only 50 percent of respondents are confident

   that the cruise industry can reopen safely coming out of the pandemic. (DE 3-3 at ¶ 9.)

   Another poll revealed that 80 percent of respondents would prefer to sail on a cruise with

   a vaccine requirement. (DE 3-1 at 11–12.)

          To address customer anxiety, NCLH has implemented a policy of requiring full

   vaccination of its crew and passengers until October 31, 2021. (Id. at ¶ 13.) In addition,

   the company is requiring all passengers to provide some documentation proving their

   COVID-19 vaccination status before boarding. (Id. at ¶ 27.)    NCLH explains that it has

   adopted this policy as a measure to prevent a COVID-19 outbreak onboard, build brand

   trust and goodwill with customers, ensure compliance with the attestation it submitted to

   the CDC, and take advantage of the leniency afforded cruise ships with 95 percent

   vaccinated passengers and crew under the CDC’s Operation Manual. (Id. at ¶¶ 20, 26,

   27.)

             D. Section 381.00316

          An obstacle to NCLH’s full vaccination plan is Florida’s recently-enacted law

   prohibiting businesses from requiring patrons to provide COVID-19 vaccination

   documentation for entry or service. Fla. Stat. § 381.00316. To guarantee full vaccination

   rate, NCLH states that it needs to verify the vaccination status of all passengers and the

   most reliable method for doing so is through COVID-19 vaccination documentation. (See

   DE 3-1 at ¶ 6.)

          On April 2, 2021, Florida Governor Ron DeSantis issued an executive order,

   prohibiting businesses in Florida from “requiring patrons or customers to provide any

   documentation certifying COVID-19 vaccination or post-transmission recovery to gain



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   access to, entry upon, or service from the business.” Fla. Exec. Order No. 21-81 (Apr. 2,

   2021). The executive order required all businesses to comply “to be eligible for grants or

   contracts funded through state revenue.” Id. A month later, the Florida Legislature

   passed and Governor DeSantis signed into law a bill expanding on the executive order,

   stating that all business entities “may not require patrons or customers to provide any

   documentation certifying COVID-19 vaccination or post-infection recovery to gain access

   to, entry upon, or services from the business operations in this state,” subject to the

   imposition of a fine not exceeding $5,000 per violation. 25 The bill, codified at Fla. Stat. §

   381.00316, authorizes the Florida Department of Health to enforce the Statute and adopt

   implementing rules, id. § 381.00316(6), but as of the date of this Order, the Department

   of Health has not done so. The Statute became effective on July 1, 2021.

          Notably, Section 381.00316 does not prohibit businesses from requiring

   employees to provide COVID-19 vaccination documentation. For instance, the Walt

   Disney Company announced on July 31, 2021 that they will require all salaried and non-

   union U.S. employees to be fully vaccinated and provide verification of vaccination before

   returning to any work site, including theme parks; salaried and non-union employees in

   Florida are not exempt from this requirement. 26 The Statute also does not prohibit

   businesses from adopting a vaccination requirement for a percentage of customers or

   asking for oral verification of one’s vaccination status.


   25See Press Release, Fla. Gov. Ron DeSantis, Governor Ron DeSantis Signs Landmark Legislation to
   Ban Vaccine passports and Stem Government Overreach (May 3, 2021), https://www.flgov.com/2021/
   05/03/governor-ron-desantis-signs-landmark-legislation-to-ban-vaccine-passports-and-stem-government-
   overreach/.

   26 Sarah Whitten, Disney tells salaried and non-union employees in the U.S. they must be vaccinated by

   end of September, CNBC (July 31, 2021 6:23 AM), https://www.cnbc.com/2021/07/30/disney-tells-salaried-
   and-non-union-employees-they-must-be-vaccinated.html; see also infra note 39.


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                 E. Other Cruise Lines

             Like NCLH, other cruise lines—Carnival Cruise Line (“Carnival”), Royal Caribbean

   International (“Royal Caribbean”), Royal Caribbean subsidiary Celebrity Cruises

   (“Celebrity”), and MSC Cruises (“MSC”)—have resumed operations from Florida this

   summer. To date, four cruise ships have already resumed restricted voyages from Florida

   with paying customers, Carnival’s Carnival Horizon and Royal Caribbean’s Freedom of

   the Seas from PortMiami and Celebrity’s Celebrity Edge and Celebrity Equinox from Port

   Everglades in Fort Lauderdale. 27 On June 26, 2021, the Celebrity Edge became the first

   ship to set sail from the United States on a revenue cruise “in more than a year.” (DE 34-

   3 at 3.) In addition to the Norwegian Gem, additional ships have received their Conditional

   Sailing Certificate from the CDC and plan to sail from Florida soon: MSC’s MSC

   Meraviglia and Carnival’s Carnival Sunrise from PortMiami and Carnival’s Carnival Mardi

   Gras and Carnival Magic from Port Canaveral in Brevard County. (DE 34-13.) Several

   other ships are still in the process of obtaining CDC authorization. For instance, Royal

   Caribbean’s Allure of the Seas and Symphony of the Seas have only recently completed

   simulated voyages. (DE 34-16.)

             Each of the foregoing cruise lines has adopted robust COVID-19 protocols and

   allowed at least some unvaccinated passengers to sail, although the policy regarding the

   number of unvaccinated passengers permitted to sail on each ship varies by company.

   As of the date of this Order, Carnival has required vessels to sail with at least 95 percent

   of their passengers fully vaccinated; no more than five percent of a Carnival vessel’s




   27   Dolven, supra note 22.


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   passengers may be unvaccinated. 28 (DE 34-7 at 2.) Unvaccinated customers who desire

   to sail on a Carnival cruise must apply for an exemption, which is “not guaranteed and [is]

   capacity-controlled based on the total number of vaccinated guests on board.” (Id. at 2.)

   Vaccinated passengers must “provide proof of vaccination at the terminal in advance of

   boarding.” (Id.)

              Other companies, such as MSC, have not required ships to sail with a set

   percentage of vaccinated guests. (DE 34-10.) But cruise lines that do allow unvaccinated

   passengers onboard require them to comply with additional restrictions and requirements.

   For instance, companies have required unvaccinated guests to purchase traveler’s

   insurance, take additional COVID-19 tests during the cruise at their own expense, and

   comply with restrictions regarding access to venues, events, and excursions. See infra

   at 34–35.

        II.      LEGAL STANDARD

              “A party seeking a preliminary injunction must establish the following four

   elements: (1) a substantial likelihood of success on the merits; (2) a substantial threat of

   irreparable injury; (3) that its own injury outweighs the injury to the nonmovant; and (4)

   that the injunction would not disserve the public interest.” Siegel v. LePore, 234 F.3d

   1163, 1179 (11th Cir. 2000). “The third and fourth factors ‘merge’ when, as here, the

   government is the opposing party.” Gonzalez v. Governor of Ga., 978 F.3d 1266, 1271

   (11th Cir. 2020) (internal citation and brackets omitted). “A preliminary injunction is an

   ‘extraordinary and drastic remedy’ and should not be granted unless ‘the movant clearly



   28See also Carnival Cruise Line, Have Fun. Be Safe. COVID-19 Guest Protocols [hereinafter “Carnival
   COVID-19 Guest Protocols”], https://www.carnival.com/legal/covid-19-legal-notices/covid-19-guest-
   protocols (last visited Aug. 7, 2021).

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   establishes the burden of persuasion as to each of the four prerequisites.’” FF Cosms.

   FL, Inc. v. City of Miami Beach, 866 F.3d 1290, 1298 (11th Cir. 2017) (internal citations

   and brackets omitted). “Although the initial burden of persuasion is on the moving party,

   the ultimate burden is on the party who would have the burden at trial.” Id. (citing

   Edenfield v. Fane, 507 U.S. 761, 770 (1993)).

      III.      DISCUSSION

             NCLH argues that it is entitled to a preliminary injunction because it is likely to

   prevail on the merits of its First Amendment, dormant Commerce Clause, and preemption

   claims. Upon a careful review of the record, the Court finds that Plaintiffs are entitled to

   a preliminary injunction because they have shown: (1) a substantial likelihood of success

   on the merits of their First Amendment and dormant Commerce Clause claims; (2) that

   they would suffer irreparable injury absent an injunction; and (3) that the equities and

   public interest weigh in favor of an injunction.

                A. NCLH has shown a substantial likelihood of success on the merits of
                   its First Amendment and dormant Commerce Clause claims

                       1. NCLH’s First Amendment claim

                              a. Section 381.00316 is a content-based restriction on
                                 speech

             “The First Amendment, applicable to the States through the Fourteenth

   Amendment, prohibits the enactment of laws ‘abridging the freedom of speech.’” Reed

   v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015) (citing U.S. Const. amend. I). Pursuant

   to this clause, a state “has no power to restrict expression because of its message, its

   ideas, its subject matter, or its content.” Id. (citing Police Dept. of Chicago v. Mosley, 408

   U.S. 92, 95 (1972)).       “Content-based laws—those that target speech based on its



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   communicative content—are presumptively unconstitutional. . . .” Id. (citing R.A.V. v. St.

   Paul, 505 U.S. 377, 395 (1992); Simon & Schuster, Inc. v. Members of N.Y. State Crime

   Victims Bd., 502 U.S. 105 (1991)).

          “Government regulation of speech is content based if a law applies to a particular

   speech because of the topic discussed or the idea or message expressed.” Id. “This

   commonsense meaning of the phrase ‘content based’ requires a court to consider

   whether the regulation of speech ‘on its face’ draws distinctions based on the message a

   speaker conveys.” Id. A law is a content-based restriction of speech if it “singles out

   specific subject matter for differential treatment.” Barr v. Am. Ass'n of Pol. Consultants,

   Inc, 140 S. Ct. 2335 (2020) (citation omitted). “One reliable way to tell if a law is restricting

   speech is content-based is to ask whether enforcement authorities must ‘examine the

   content of the message that is conveyed’ to know whether the law has been violated.”

   Otto v. City of Boca Raton, Fla., 981 F.3d 854, 862 (11th Cir. 2020) (citing McCullen v.

   Coakley, 573 U.S. 464, 479 (2014)).

          Section 381.00316 is a content-based restriction because, on its face, it draws

   distinctions based on the message of speech. See Reed, 576 U.S. at 163. In other

   words, it is apparent from the text of the law that speech is regulated differently because

   of its subject matter and content. The Statute prohibits businesses from requiring their

   patrons to present “documentation certifying COVID-19 vaccination or post-infection

   recovery” for access or services. Fla. Stat. § 381.00316(1). However, nothing in the

   Statute prohibits businesses from demanding documentation of a negative COVID-19 test

   or any other type of medical or informational documentation. In fact, because the Statute




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   allows businesses to institute “screening protocols” 29 to protect public health, id., business

   entities are expressly permitted to require this type of documentation, including COVID-

   19 test results, other vaccine documentation, and other types of medical information. 30

   Under Section 381.00316, the only documentation businesses cannot demand is COVID-

   19 vaccine documentation.            Accordingly, the statute is a content-based restriction

   because it singles out documentation regarding a particular subject matter (certification

   of “COVID-19 vaccination or post-infection recovery”) and subjects it to restrictions

   (businesses may not require them for entry or services) that do not apply to documents

   regarding other topics. See Barr, 140 S. Ct. at 2346 (“Because the law favors speech

   made for collecting government debt over political and other speech, the law is a content-

   based restriction on speech.”); Otto, 981 F.3d at 862 (“If adorable videos of puppies are

   allowed and horrifying videos of puppy abuse are not, that restriction is based on content,

   no matter how desirable it may be.”); Wollschlaeger v. Governor, State of Fla., 848 F.3d

   1293, 1307 (11th Cir. 2017) (“The record-keeping, inquiry, and anti-harassment

   provisions of [the federal Firearm Owners Protection Act] are speaker-focused and

   content-based restrictions.        They apply only to the speech of doctors and medical

   professionals, and only on the topic of firearm ownership.”).

           Application of the analyses set forth by the Supreme Court in Reed and Sorrell v.

   IMS Health Inc., 564 U.S. 552 (2011), demonstrates that Section 381.00316 is a content-

   based restriction on speech. Reed involved a First Amendment challenge to a code that


   29The Statute does not define the term “screening protocols” and Defendant has not defined the term or
   adopted any implementing rules in this regard.

   30 Under Florida state law and regulations promulgated by the Florida Department of Health, children must

   receive numerous vaccines for polio, rubella, chickenpox, and other diseases caused by viruses, before
   they may enroll in and attend public school in Florida. See Fla. Stat. §§ 1003.22(1), (3); Fla. Admin. Code
   Ann. r. 64D-3.046.

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   regulated outdoor signs adopted by the town of Gilbert, Arizona. See Reed, 576 U.S. at

   159. The code prohibited the display of signs within the town without a permit, but

   exempted 23 categories including “Ideological Signs,” “Political Signs,” and “Temporary

   Directional Signs.” Id. at 159–162. The exemptions were based on the sign’s content:

   “Ideological Signs” communicated a message for a noncommercial purpose; “Political

   Signs” were signs designed to influence the outcome of an election; and “Temporary

   Directional Signs” directed the public to church or some other qualifying event. Id. Under

   the code, each exemption was subject to a different set of restrictions; “Temporary

   Directional Signs” were treated less favorably than the other two exemptions, which were

   subject to more lenient size and temporal restrictions. Id. In a majority opinion authored

   by Justice Clarence Thomas, the Supreme Court concluded that “[o]n its face, the Sign

   Code is a content-based regulation of speech” because “[t]he restrictions in the Sign Code

   that apply to a given sign [] depend entirely on the communicative content of the sign.”

   Id. at 164–165.    The Supreme Court emphasized that, by imposing more stringent

   restrictions to signs with directional content than those with ideological or political

   messages, the code was a content-based law because it “single[d] out specific subject

   matter for differential treatment.” Id. at 156.

          Sorrell presented a First Amendment challenge to a Vermont law that prohibited

   pharmacies from selling prescriber-identifying information—pharmacy records that

   revealed the prescribing practices of individual doctors—to marketers or “detailers,” or

   allow the information to be used for marketing purposes without the prescriber’s consent.

   See 564 U.S. at 557–59. However, under the law, pharmacies could sell, and allow this

   information to be used for, other purposes including research, compliance with health



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   insurance formularies, educational communications provided to patients, or law

   enforcement. Id. at 559—60. The Court concluded that, “[o]n its face, Vermont’s law

   enacts content-and speaker-based restrictions on the sale, disclosure, and use of

   prescriber-identifying information.” Id. at 563—64. Justice Anthony Kennedy, writing for

   the majority, emphasized that “those who wish[ed] to engage in certain ‘educational

   communications’ . . . may purchase the information,” but that the statute “bars any

   disclosure when recipient speakers will use the information for marketing.” Id. at 564

   (internal citation omitted). Accordingly, the Court concluded that the law was content-

   based because it “disfavor[ed] marketing, that is, speech with a particular content.” Id.

           Reed and Sorrell make clear that a law constitutes a content-based restriction if it

   singles out particular speech on a subject matter for less favorable treatment. Similar to

   the laws in Reed and Sorrell that disfavored “Temporary Directional Signs” and marketing,

   Section 381.00316 singles out and disfavors documentary proof of COVID-19

   vaccination, subjecting this particular content to greater restrictions than other forms of

   documentation. While businesses are prohibited from requiring customers to produce

   COVID-19 vaccination documentation, they are free to demand other categories of

   documents to provide services. 31 As such, Section 381.00316 constitutes a content-

   based restriction on speech.

                               b. Section 381.00316 is a restriction on speech and not
                                  merely an economic regulation

           The Supreme Court has explained that the “dissemination of information [is]

   speech within the meaning of the First Amendment.” Sorrell, 564 U.S. at 570. “Facts,


   31For example, businesses routinely require customers to provide personal identifying information, such as
   driver’s licenses, social security number, financial reports, and medical information to procure services,
   procedures, and access to facilities.

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   after all, are the beginning point for much of the speech that is most essential to advance

   human knowledge and to conduct human affairs.” Id.; Otto, 981 F.3d at 866 (“if the acts

   of disclosing and publishing information do not constitute speech, it is hard to imagine

   what does fall within that category.”) (quoting Bartnicki v. Vopper, 532 U.S. 514, 527

   (2001) (internal quotation marks omitted). Nonetheless, in his response, Defendant fails

   to address whether Section 381.00316 is a content-based restriction on speech and does

   not challenge the notion that the exchange of COVID-19 vaccination documentation

   between a business and its patrons is speech protected under the First Amendment.

         Defendant instead argues that Section 381.00316 is not a regulation on speech,

   but rather an economic regulation that does not implicate First Amendment review. (DE

   32 at 15–17.) He explains that the Statute does not regulate speech because it does not

   prohibit any speech. The law does not forbid NCLH from requesting these documents or

   prohibit willing customers from providing them; the Statute allows businesses and patrons

   to exchange COVID-19 vaccination documents on a voluntary basis.              (Id.)   Thus,

   Defendant submits that the Statute only prohibits business-related conduct: the act of

   “conditioning service on customers providing documentation certifying COVID-19

   vaccination.” (Id. at 16.) Simply put, Defendant contends that Section 381.00316 is not

   governed by the First Amendment, because it only “affects what businesses cannot do .

   . . not what they may or may not say.” (Id. (internal citation omitted).) The Court is not

   persuaded by this argument.

         First, Defendant wrongly suggests that a law only regulates speech if it “forbids” or

   “prohibits” a form of speech. (Id.) It is well-established that a law may constitute a

   speech-based restriction by burdening or limiting speech on a particular topic, even if it



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   does not outright ban a form of speech. See, e.g., Reed, 576 U.S. at 169 (holding that a

   law that imposed various temporal, size, and location restrictions for different signs

   constituted a content-based restriction on speech); Sorrell, 564 U.S. at 564 (holding that

   a law that disallowed the sale and use of prescriber-identifying information for marketing

   without the prescriber’s consent was a content-based restriction on speech);

   Wollschlaeger, 848 F.3d at 1303 (holding that the inquiry and record-keeping provisions

   of the federal Firearm Owners Protection Act, which prohibited medical professionals from

   asking patients about firearm ownership and recording answers to such questions unless

   the professional had information to believe that the patient was suicidal or had violent

   tendencies, was a content-based restriction on speech); Otto, 981 F.3d at 859 (holding

   that a city ordinance that banned conversion therapy was a content-based restriction on

   speech, even though it exempted “counseling that provides support and assistance to a

   person undergoing gender transition”). Accordingly, the fact that Section 381.00316 does

   not forbid the exchange of COVID-19 vaccination documentation between businesses

   and patrons does not mean that it is not a regulation of speech. Like the laws at issue in

   Reed, Sorrell, Otto, and Wollschlaeger, Section 381.00316 regulates speech because it

   restricts the free flow of information by rendering the exchange permissible in some

   circumstances but impermissible in others.

         Defendant’s position that Section 381.00316 does not implicate the First

   Amendment because it merely regulates an economic activity is similarly unavailing. A

   valid regulation on economic or professional conduct is “not unconstitutional as an

   abridgement of the right to free speech, so long as any inhibition of that right is merely

   the incidental effect of observing an otherwise legitimate regulation.” Locke v. Shore, 634



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   F.3d 1185, 1191 (11th Cir. 2011) (emphasis added); Dana's R.R. Supply v. Att'y Gen.,

   Fla., 807 F.3d 1235, 1251 (11th Cir. 2015). Defendant does not explain how the Statute

   affects protected speech in merely an incidental way. In any event, Sorrell cuts sharply

   against Defendant’s position that Section 381.00316 does not trigger First Amendment

   scrutiny.

          In Sorrell, the Supreme Court explained that “restrictions on protected expression

   are distinct from restrictions on economic activity or, more generally, on nonexpressive

   conduct.” 564 U.S. at 567. The Court recognized that “[t]he First Amendment does not

   prevent restrictions directed at commerce or conduct from imposing incidental burdens

   on speech,” id., and identified several laws that regulated conduct but did not trigger First

   Amendment review because their effect on protected expression was merely incidental,

   including: “a ban on race-based hiring [that] may require employers to remove White

   Applicants Only signs,” “an ordinance against outdoor fires [that] might forbid burning a

   flag,” and “[an] antitrust law[] [that] prohibit[ed] ‘agreements in restraint of trade . . . .” Id.

   (citing Rumsfeld v. F. for Acad. & Inst. Rts., Inc., 547 U.S. 47, 62 (2006); R.A.V., 505 U.S.

   at 385; Giboney v. Empire Storage & Ice Co., 336 U.S. 490, 502 (1949)) (internal

   quotations omitted). The Supreme Court distinguished these examples and concluded

   that the Vermont law was a restriction on speech. Sorrell, 564 U.S. at 567—68. As

   summarized previously, that law made it unlawful for pharmacies to “sell, license, or

   exchange” prescriber-identifying information to marketers or “permit the use” of the

   information for marketing purposes absent the prescriber’s consent. Id. at 558—59

   (emphasis added) (internal quotations and citations omitted). Vermont’s law also barred

   pharmaceutical manufacturers and marketers from “us[ing]” this information for marketing



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   purposes without the prescriber’s consent. Id. at 559 (emphasis added). However, the

   law contained an exception that allowed this information to be sold, licensed, and used

   for other purposes, including health care research, compliance with health insurance

   formularies, and more. Id. at 559—60. While the law appeared to proscribe conduct (i.e.,

   the sale, license, and use of prescriber-identifying information), the Supreme Court

   concluded that it was still subject to First Amendment scrutiny because it directly targeted

   marketing, a form of protected speech. Id. at 557, 580. The Supreme Court explained,

   “[b]oth on its face and in its practical operation, Vermont’s law imposes a burden based

   on the content of speech and the identity of the speaker.” Id. at 567. It emphasized that

   “Vermont’s law does not simply have an effect on speech, but is directed at certain content

   and is aimed at particular speakers.” Id. (emphasis added). Because the Statute directly

   targeted marketing, the Court concluded that it “impose[d] more than an incidental burden

   on protected expression.” Id.

          While he argues that Section 381.00316 only regulates the economic conduct of

   “conditioning service on customers providing ‘documentation certifying COVID-19

   vaccination documentation,’” Defendant does not address the fact that it also directly

   targets a form of protected speech. (DE 34 at 16.) Like the law in Sorrell, on its face,

   Section 381.00316 singles out and disfavors only one type of speech. The Vermont law

   singled out marketing; while it prohibited the sale and use of prescriber-identifying

   information for marketing, it allowed the sale and use of this information for other content

   (e.g., research). See Sorrell, 564 U.S. at 558—60. Likewise, Section 381.00316 singles

   out documentary proof of COVID-19 vaccination: while the Statute prohibits businesses

   from conditioning service based on the exchange of COVID-19 vaccination documents, it



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   does not prohibit businesses from predicating services based on the exchange of other

   medical documents or oral verification of vaccination. Thus, Sorrell instructs that Section

   381.00316 does not merely have an incidental effect on speech because it is specifically

   “directed at certain content.” 32 564 U.S. at 567; see also Wollschlaeger v. Farmer, 814

   F. Supp. 2d 1367, 1380 (S.D. Fla. 2011) (“The law has more than an incidental effect on

   protected expression; rather, the law directly targets protected expression by restricting

   it.”) (emphasis added); Dana's R.R. Supply, 807 F.3d at 1248 (explaining that a law that

   imposed “a direct and substantial burden on disfavored speech” imposed more than just

   an “‘incidental burden’ on speech.”) (emphasis added). And while the “burdened speech”

   may result from “an economic motive, so too does a great deal of vital expression.”

   Sorrell, 564 U.S. at 567.             Accordingly, Section 381.00316 does not evade First

   Amendment review.

           The reasoning in the case Dana’s R.R. Supply v. Attorney General further

   illustrates why the Statute is not merely an economic regulation, but a restriction on

   speech. 807 F.3d at 1239. In Dana, the Eleventh Circuit considered a First Amendment

   challenge to Florida’s “no-surcharge law,” which made it a second-degree misdemeanor

   for merchants to impose a “surcharge” for credit card purchases, but allowed them to offer

   “a discount for the purpose of inducing payment by cash.” Id. at 1239. At first blush, the



   32 Defendant cites several cases to support his position that the Statute only regulates conduct and not
   speech. However, those cases are easily distinguishable because, unlike Section 381.00316, the laws in
   those cases did not explicitly target or disfavor a form of speech. See Rumsfeld v. F. for Acad. & Institutional
   Rts., Inc., 547 U.S. 47 (2006) (scrutinizing a law that conditioned federal funding to law schools on equal
   access to on-campus recruiting opportunities for the military). Similarly, Defendant’s reliance on
   Wollschlaeger’s discussion regarding the antidiscrimination provision of the federal Firearm Owners
   Protection Act is misplaced. That statute is distinguishable because it did not “on its face, implicate the
   spoken or written word.” 848 F.3d 1317. Here, as previously explained, the Statute expressly regulates a
   form of speech. In addition, because the Statute does not regulate professional conduct, Defendant’s cases
   regarding the regulation of professional activity are distinguishable.

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   law appeared to prohibit “dual-pricing” conduct (i.e., “charging different prices to different

   customers depending on whether payment is made in cash or by credit card”). Id. at

   1243. However, the court noted that the law did not actually accomplish this objective

   because merchants could still offer discounts for cash payments, as expressly authorized

   by the Statute. Id. at 1243-45. Instead, the court found that the law was a restriction on

   speech because it allowed merchants to engage in dual-pricing, as long as the cost

   difference was described as a “cash discount” and not a “credit card surcharge.” Id. at

   1252. The Eleventh Circuit explained, “[i]n order to violate the statute, a defendant must

   communicate the price difference to a customer and that communication must denote the

   relevant price difference as a credit-card surcharge,” as opposed to a cash discount. Id.

   at 1245. As such, the court held that the law was a content-based restriction because it

   penalized the “wrong choice” of “equally plausible alternative descriptions of an objective

   reality.” Id. at 1245.

           Similar to the law in Dana’s R.R. Supply, at first blush, Section 381.00316 appears

   to prohibit businesses from requiring patrons to verify their vaccination status for entry or

   services.    However, a review of the text shows that nothing in the statute forbids

   businesses from doing so. Instead, the Statute only disallows businesses from requiring

   customers to verify their vaccination status with “documentation certifying COVID-19

   vaccination or post-transmission recovery,” Fla. Stat. § 381.00316 (emphasis added).

   Accordingly, businesses could still require customers to provide oral verification as to

   whether they have received a COVID-19 vaccination. 33 Thus, like the law in Dana’s R.R.


   33 Fla. Stat. § 381.00316 does not define the word “documentation.” While the Statute incorporates

   definitions of other terms from elsewhere in the Florida Statutes, such as “business entity,” “educational
   institution,” and “health care provider,” it does not incorporate a definition of “documentation” from


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   Supply, while there are multiple ways of communicating the same information

   (vaccination status), some expressions are favored (oral verification) while others are

   disfavored (COVID-19 vaccination documents).

           Finally, the Court is mindful of the Eleventh Circuit’s observations that “[t]he

   government cannot regulate speech by relabeling it conduct” and that “characterizing

   speech as conduct is a dubious constitutional enterprise.’” Otto, 981 F. 3d at 861 (citing

   Wollschlaeger, 848 F. 3d at 1308). The Eleventh Circuit’s concerns that recharacterizing

   speech as conduct is “unprincipled” and “susceptible to manipulation” are warranted

   where, as here, the law regulating conduct also directly targets and disfavors a form of

   speech. Id. (citation omitted). By characterizing certain laws as regulation of economic

   conduct, laws that restrict bookstores from selling biographies or prohibit video rental

   shops from renting documentaries also could evade First Amendment scrutiny under the

   logic that they merely affect “what businesses cannot do” and “not what they may or may

   not say,” despite the significant burdens they impose on protected expression. (DE 34 at

   16.)




   elsewhere. Therefore, the Court interprets “documentation” in accordance with its “plain and ordinary
   meaning.” Spencer v. Specialty Foundry Prods., Inc., 953 F.3d 735, 740 (11th Cir. 2020) (citing Barton v.
   U.S. Att’y Gen., 904 F.3d 1294, 1298 (11th Cir. 2018)). “To determine the ordinary meaning of an undefined
   statutory term, ‘[courts in the Eleventh Circuit] often look to dictionary definitions for guidance,’” Spencer,
   953 F.3d at 740 (quoting In re Walter Energy, Inc., 911 F.3d 1121, 1143 (11th Cir. 2018)), including “‘popular
   and legal’ dictionaries.” Spencer, 953 F.3d at 740 (quoting Rainbow Gun Club, Inc. v. Denbury Onshore,
   L.L.C., 760 F.3d 405, 409 (5th Cir. 2014)). Black’s Law Dictionary defines “documentation” as “[o]fficial
   documents, reports, and the like used to prove that something is true or correct . . . . [t]he act of recording
   information in a tangible medium . . . . [t]he preparation of documents for use or filing . . . . [and] [t]he act or
   process of furnishing a ship with papers.” Black’s Law Dictionary (11th ed. 2019). Further, during oral
   argument, Defendant conceded that oral verification is “not explicitly prohibited by the law” and “is not
   addressed explicitly by the [S]tatute . . . .” Accordingly, the Court finds that oral verification is permitted
   under Section 381.00316.

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                            c. Section 381.00316 does not survive intermediate
                               scrutiny under the Central Hudson test

          Having determined that Section 381.00316 is subject to First Amendment scrutiny

   as a restriction on speech, the question then becomes what level of Constitutional scrutiny

   the Court should apply. Because the Statute is not merely an economic regulation,

   rational basis review is not appropriate. Content-based restrictions on speech generally

   trigger strict or heightened scrutiny. See, e.g., Reed, 574 U.S. at 164 (content-based

   restrictions on speech “are presumptively unconstitutional and may be justified only if the

   government proves that they are narrowly tailored to serve compelling state interests.”);

   Otto, 981 F. 3d at 861 (“strict scrutiny ordinarily applies to content-based restrictions on

   speech. . . . ”); Sorrell, 564 U.S. at 572 (“To sustain the targeted, content-based burden

   § 4631(d) imposes on protected expression, the State must show that the Statute directly

   advances a substantial government interest and that the measure is drawn to achieve

   that interest.”). NCLH argues that in light of the decision in Reed decision, strict scrutiny

   is the appropriate standard to be applied. (DE 3 at 13—14.) Plaintiffs presents a

   compelling argument in this regard and the Court agrees that strict scrutiny is appropriate

   in light of the well-established precedent.

          However, Defendant argues that to the extent the First Amendment applies, the

   Court should apply the Central Hudson test, a less rigorous form of intermediate scrutiny,

   because the Statute regulates commercial speech. (DE 32 at 17.) “Commercial speech

   is a narrow category of necessarily expressive communication that is related solely to the

   economic interests of the speaker and its audience, . . . . or that does no more than

   propose a commercial transaction.” Dana's R.R. Supply, 807 F.3d at 1246 (quoting Cent.

   Hudson Gas & Elec. Corp. v. Pub. Serv. Comm'n of N.Y., 447 U.S. 557, 561 (1980); Va.


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   Pharmacy Bds. v. Va. Citizens Consumer Council, 425 U.S. 748, 762 (1976)) (internal

   quotations omitted). COVID-19 vaccination documentation does not fit the definition of

   commercial speech and does not relate “solely” to an economic interest. NCLH submitted

   evidence showing that it had non-economic justifications for requiring the documentation,

   including to prevent a COVID-19 outbreak aboard its ships and the communities where it

   travels. (DE 3-1 at ¶¶ 14, 27; DE 3-4 at ¶ 16.) In addition, unlike advertising or marketing,

   these documents do not propose a commercial transaction. Consequently, the Court is

   skeptical that Section 381.00316 regulates only commercial speech.

          Nevertheless, even if Defendant is correct, the Court does not believe that the

   Statute could survive the lesser Central Hudson standard. See Dana's R.R. Supply, 807

   F.3d at 1241. Under this test, “a restriction on commercial speech is valid under the First

   Amendment if: (1) the speech is not misleading and does not concern unlawful activity,

   (2) the government has a substantial interest in restricting the speech, (3) the regulation

   directly advances the asserted government interest, and (4) the regulation ‘is not more

   extensive than is necessary to serve that interest.’” FF Cosms. FL, Inc., 866 F.3d at 1298

   (citing Cent. Hudson Gas, 447 U.S. at 566). “[T]he burdens at the preliminary injunction

   stage track the burdens at trial.” Gonzales v. O Centro Espirita Beneficente Uniao do

   Vegetal, 546 U.S. 418, 429 (2006). “It is well established that ‘[t]he party seeking to

   uphold a restriction on commercial speech carries the burden of justifying it.” Edenfield

   v. Fane, 507 U.S. 761, 770 (1993) (citation omitted). “This burden is not satisfied by mere

   speculation or conjecture; rather, a governmental body seeking to sustain a restriction

   on commercial speech must demonstrate that the harms it recites are real and that its

   restriction will in fact alleviate them to a material degree.” Id. Moreover, Defendant bears



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   the burden of demonstrating that the Statute is “appropriately tailored in light of the

   substantial interests it seeks to achieve.” FF Cosms. FL, Inc., 866 F.3d at 1298.

          Defendant does not attempt to defend Section 381.00316 on the grounds that it

   regulates “misleading” speech or “unlawful activity.” Accordingly, the Court examines

   whether Defendant has sufficiently shown that the Statute is justified by substantial

   government interests, directly advances those interests, and is appropriately tailored.

   Because Defendant has failed to meet this burden and justify the constitutionality of this

   Statute, Plaintiffs are likely to prevail on their First Amendment claim.

                                  i.   Does Florida have a substantial interest in
                                       restricting the speech?

          Defendant asserts two interests that Section 381.00316 purportedly addresses:

   “protecting the medical privacy of its citizens” and “avoiding discrimination through

   balkanization of the marketplace.” (DE 32 at 17).

          To demonstrate that an articulated interest is a “substantial government interest,”

   the burden is on the governmental entity to show that these interests are based on a

   problem that actually exists. See, e.g., Lorillard Tobacco Co. v. Reilly, 533 U.S. 525, 561

   (2001) (“Our review of the record reveals that the Attorney General has provided ample

   documentation of the problem with underage use of smokeless tobacco and cigars.”)

   (emphasis added); FF Cosms. FL, Inc., 866 F.3d at 1298 (“[T]he district court correctly

   found that the City’s asserted interests are substantial: ‘substantial witness testimony’

   demonstrated that ‘solicitations and handbilling in Miami Beach’s historic district is a

   problem that exists in fact.’”).     Here, Defendant has presented no evidence to

   demonstrate that his asserted interests are in response to real problems that Florida

   residents are actually facing. There is no evidentiary support to show that residents have


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   experienced intrusions on their medical privacy or discrimination because some

   businesses, including cruise lines, have required COVID-19 vaccination documentation. 34

   The legislative record cited by Defendant is bereft of any facts or data underpinning the

   Statute’s purported purpose. 35          See Sorrell, 564 U.S. at 597 (noting that “Vermont

   compiled a substantial legislative record to corroborate” its articulated state interests)

   (emphasis added). In light of the absence of any appropriate data, reports, or even

   anecdotal evidence on this issue, the Court cannot conclude that Defendant’s articulated

   interests are based on “a problem that exists in fact,” FF Cosms. FL, Inc., 866 F.3d at

   1298, as opposed to “mere speculation or conjecture.” Edenfield, 507 U.S. at 770;

   Wollschlaeger, 848 F.3d at 1316 (“At an abstract level of generality, Florida does have a

   substantial interest in regulating professions like medicine. . . . [t]hat interest, however, is

   not enough here.”).

           Moreover, Defendant cites to no relevant authority to support his position that

   during a global pandemic, his articulated objectives constitute substantial state

   interests. 36 Rather, courts have suggested that the unvaccinated population is not a


   34To the contrary, polls show that most passengers who would sail on a cruise at this moment are in favor
   of a vaccination requirement, suggesting that many are comfortable exchanging COVID-19 vaccination
   documentation and would not find it to be an unwanted “intrusion.” (DE 3-3 at ¶ 9; DE 3-1 at 11–12.)
   Record evidence also shows that individuals who do not wish to exchange these documents could easily
   prevent this “intrusion” by cruising on ships that do not require them or waiting until NCLH’s policy expires
   on October 31, 2021. (DE 35-1 at 15—21.) See Klaassen, 2021 WL 3073926, at *1 (explaining that Indiana
   University students who “do not want to be vaccinated may go elsewhere” and “have ample educational
   opportunities.”).

   35During legislative debate, the sponsoring legislators could not articulate the difference between COVID-
   19 vaccinations and the other vaccinations that students are required to obtain to attend schools in Florida.
   (DE 32 at 4 n. 3.)

   36 Defendant cites to Katz v. U.S., 389 U.S. 347 (1967) and Roberts v. U.S. Jaycees, 468 U.S. 609 (1984),

   to support his assertion that “medical privacy” and “avoiding discrimination” against the unvaccinated
   population are substantial state interests. (DE 32 at 17.) These cases provide no support for Defendant’s
   position. In Katz, the Supreme Court held that the Government’s activity of electronically listening and
   recording a private conversation in a telephone booth constituted a search and seizure under the Fourth


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   protected class that enjoys a fundamental Constitutional right to remain unvaccinated.

   See, e.g., Jacobson v. Massachusetts, 197 U.S. 11 (1905) (scrutinizing a state law that

   required all members of the public to be vaccinated against the smallpox under the

   rational basis test); Klaassen, 2021 WL 3073926, at *40 (declining to recognize a

   fundamental right “to privacy to medical information.”). The thorough and well-reasoned

   analysis set forth in Klaassen, including an examination of Jacobson’s continued viability,

   casts doubt that the referenced objectives constitute the type of substantial government

   interest that could justify this law. For these reasons, Defendant has failed to demonstrate

   that the Statute is justified by a substantial government interest.

                                     ii.   Does the Statute advance the asserted state
                                           interest?

           However, even assuming that the articulated objectives constitute substantial

   government interests, Defendant has also failed to show that Section 381.00316

   advances these objectives in a material way. In evaluating a statute’s effectiveness in

   advancing the state’s interest, a “commercial speech regulation ‘may not be sustained if

   it provides only ineffective or remote support for the government’s purpose.’” 44

   Liquormart, Inc. v. Rhode Island, 517 U.S. 484, 505 (1996) (quoting Cent. Hudson, 447

   U.S. at 564). “For that reason, the State bears the burden of showing not merely that its

   regulation will advance its interest, but also that it will do so ‘to a material degree.’” Id.

   (quoting Edenfield, 507 U.S. at 771).




   Amendment. The Supreme Court had no occasion in Katz to consider whether protecting the privacy of
   medical records, including COVID-19 vaccination documentation, constituted a substantial state interest.
   In Roberts, the Supreme Court found that a state law that protected women from gender discrimination
   in places of public accommodation served a compelling state interest. 468 U.S. at 625. Again, the Supreme
   Court did not consider whether protecting unvaccinated individuals—or individuals who do not want to
   provide documentary proof of vaccination—serves a substantial state interest.

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          As an initial matter, Defendant provides no evidence to show that the Statute is

   materially effective at either protecting the medical privacy of Florida residents or

   preventing discrimination against unvaccinated individuals. Again, the record is devoid

   of any reports, data, affidavits, or any other appropriate evidence on this issue. Due to

   the dearth of any supporting evidence demonstrating the effectiveness of the Statute,

   Defendant fails to satisfy his burden as to this factor. See, e.g., Rubin v. Coors Brewing

   Co., 514 U.S. 476, 490 (1995) (“The Government did not offer any convincing evidence

   that the labeling ban has inhibited strength wars.”); Edenfield, 507 U.S. at 771 (“The Board

   has not demonstrated that, as applied in the business context, the ban on CPA solicitation

   advances its asserted interests in any direct and material way.”).

          Moreover, the record appears to support the opposite conclusion: the Statute is

   not an effective measure for advancing either of these objectives.           First, Section

   381.00316 only prevents businesses from requiring patrons to provide “documentation

   certifying COVID-19 vaccination or post-infection recovery,” but nothing in the statute

   appears to prohibit businesses from imposing a vaccination requirement.               While

   companies cannot require customers to verify their vaccination status with

   “documentation,” the statute does not prohibit businesses from verifying vaccination

   status in other ways (e.g., orally). Accordingly, under Section 381.00316, businesses

   could still “discriminate” against unvaccinated individuals by adopting a vaccination

   requirement, which they could enforce by requiring oral verification of vaccination status

   before entry or by deterring unvaccinated patrons from entering by putting up signs that

   read “vaccinated customers only” and “unvaccinated patrons are not allowed.”




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           In addition, the Statute also does not prohibit businesses from subjecting

   unvaccinated customers—and those who decline to verify their vaccination status and

   are deemed unvaccinated—to restrictions, requirements, and expenses that do not apply

   to vaccinated patrons. 37        For instance, other cruise lines operating in Florida have

   required unvaccinated passengers to take multiple COVID-19 tests throughout the cruise

   at their own expense, with each test costing more than $100. (DE 35-1 at 15–51.) These

   passengers are also required to purchase costly travel insurance that covers medical

   travel and related costs for COVID-19. (Id.) Cruise lines have also limited unvaccinated

   passengers’ access to events, activities, and venues. (Id.) Unvaccinated guests on

   Royal Caribbean’s Freedom of the Seas do not have access to certain dining venues, the

   casino, art auctions, the indoor pool, or the spa and during shows, they are required to sit

   in the back of the theater. (DE 35-1 at 22–29.) Princess and Carnival have also limited

   the excursions available to unvaccinated guests at ports of call. (DE 35-1 at 31–51.)

   Thus, Section 381.00316 does not prohibit businesses from treating unvaccinated

   passengers differently by charging them more while offering them less. 38 Furthermore,


   37  As of the date of this Order, the Nation’s three largest cruise line operators—Royal Caribbean, Carnival,
   and NCLH—have all implemented mandatory screening protocols for all passengers. See Royal Caribbean
   Int’l, Getting Ready to Cruise – Florida [hereinafter “Royal Caribbean COVID-19 Protocols”] (“All guests
   age 2 and older—regardless of vaccination status—will need to take a COVID-19 test (PCR or antigen)
   with an accredited test provider . . . no more than 3 days before arriving at the terminal for embarkation.
   Guests will need to show a negative test result upon arriving at the terminal.”),
   https://www.royalcaribbean.com/the-healthy-sail-center/getting-ready-to-cruise (last visited Aug. 7, 2021);
   Carnival COVID-19 Guest Protocols, supra note 28 (“[E]ffective August 14, 2021, fully vaccinated guests
   must prevent negative results of a COVID-19 test (PCR or antigen) taken within three days of their
   embarkation . . . . Unvaccinated guests approved for a vaccine exemption must present a negative PCR
   COVID-19 test at check-in . . . .”); Norwegian Cruise Line, Sail Safe (“All guests will be required to take a
   COVID-19 antigen test . . . prior to boarding and receive a negative result.”), https://www.ncl.com/sail-safe
   (last visited Aug. 7, 2021).

   38 During oral argument, counsel for Defendant stated that the term “discrimination” for purposes of Section

   381.00316 is the conduct or practice of “distinguishing” between two things. To be clear, absolutely nothing
   in the record suggests that the COVID-19 protocols adopted by NCLH or any other cruise lines are
   motivated by animus towards unvaccinated individuals. See Klaassen, 2021 WL 3073926, at *39 (“This


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   Furthermore, the Statute does not prevent cruises from continuing to offer adult-only

   cruises that exclude children, who are a significant cohort of the unvaccinated population.

   (DE 35-1 at 11–13.)

           Finally, because the Statute does not regulate employers, it does not prohibit

   employers from requiring COVID-19 vaccination documentation for continued

   employment or adopting policies that favor vaccinated over unvaccinated employees,

   such as disallowing unvaccinated employees to return to the worksite or assigning them

   different work. 39 In sum, if combatting discrimination were the goal, merely banning the

   exchange of COVID-19 vaccination documentation is an ineffective way to accomplish

   this objective because the Statute does not directly prohibit the treating of unvaccinated

   persons or those who decline to verify their vaccination status by businesses and

   employers differently.




   record is devoid of any evidence of bullying or discrimination.”). What is undisputed is that vaccinated
   individuals are significantly less likely to transmit the virus than their unvaccinated counterparts. (DE 3-4
   at ¶ 14.) These protocols—which are based on scientific and medical data—are aimed at protecting the
   health of passengers and preventing the spread of the virus onboard. See Klaassen, 2021 WL 3073926,
   at *43 (recognizing that the decision to refuse the vaccine “necessarily bears on the health of other students,
   faculty, and staff.”).

   39See Jackson Health Workers Must Get Vaccinated or Face Restrictions: CEO, NBC 6 (Aug. 5, 2021 6:22
   PM) (“Jackson Health System in Miami will be requiring all workers to get vaccinated . . . .”),
   https://www.nbcmiami.com/news/local/jackson-health-workers-must-get-vaccinated-or-face-restrictions-
   ceo/2521706/; Austin Fuller & Katie Rice, Disney requires all non-union U.S. employees to get COVID-19
   vaccinations, Orlando Sentinel (July 31, 2021 5:14 PM) (“The Walt Disney Co., Central Florida’s largest
   employer, is requiring all of its non-union hourly and salaried employees across the U.S. to get the
   coronavirus vaccine. Staffers who work on-site will have 60 days . . . to complete getting vaccinated, and
   those who work from home will need to provide verification of vaccination before returning to work . . . .
   New hires will need to be fully vaccinated before starting.”), https://www.orlandosentinel.com/business/os-
   bz-disney-employees-vaccination-20210730-6dozeysiwrfz5fikmifcxkpswe-story.html; Press Release,
   Delta Air Lines, Inc., Delta to require new hires in the U.S. to be vaccinated against COVID-19 (May 14,
   2021 11:00 AM), https://news.delta.com/delta-require-new-hires-us-be-vaccinated-against-covid-19; Press
   Release, Walmart Inc., Walmart Announces COVID-19 Vaccination Policy for Campus Office Associates
   (July 30, 2021), https://corporate.walmart.com/newsroom/2021/07/30/walmart-announces-covid-19-
   vaccination-policy-for-campus-office-associates.


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         Similarly, Section 381.00316 does not effectively protect the medical privacy of

   residents. The law is far too underinclusive to meaningfully advance this goal. The

   Statute does not govern employers, who are free to require COVID-19 vaccination

   documentation from employees, and Defendant does not explain why the exchange of

   these documents is less intrusive on medical privacy in the employment context. See

   Dana's R.R. Supply, 807 F.3d at 1250 (“If customers would be harmed learning that they

   faced surcharges but not discounts from private merchants, creating an exception

   allowing the State to impose convenience fees betrays the frailty of any potential state

   interest.”) (emphasis added).     And by only restricting the exchange of COVID-19

   vaccination documentation, the law does not safeguard against any hypothetical violation

   of medical privacy caused by exchanging other medical or health-related documentation.

   Businesses and employers are free to require COVID-19 test results, hospital records,

   other vaccination records, as well as information regarding exposure to third parties with

   COVID-19. Defendant fails to explain why COVID-19 vaccination documents are more

   medically sensitive or need more protection than these other documents.

         As previously explained, the Statute also does not prohibit businesses and

   employees from requiring individuals to provide their COVID-19 vaccination status orally.

   Finally, the Statute does not prohibit businesses from retaining, disclosing, or publishing

   a person’s COVID-19 vaccination status. Cruise lines have subjected unvaccinated

   passengers to different policies that easily disclose their unvaccinated status. (DE 35-1

   at 15–51.) For instance, Royal Caribbean provides unvaccinated patrons with a “hole

   punched in their SeaPass” to indicate their status to crewmembers and segregates these

   passengers to one deck of the main dining room. (DE 35-1 at 24.)



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           For these reasons, Defendant has failed to show that Section 381.00316 will

   advance the articulated objectives to a “material degree.”

                               iii.   Is the regulation more extensive than necessary?

         And finally, assuming that the statute advances substantial government interests,

   Defendant has failed to demonstrate that the law is not more extensive than necessary

   to accomplish them.     “To survive First Amendment scrutiny, a commercial speech

   prohibition must employ ‘a fit that is not necessarily perfect, but reasonable; that

   represents not necessarily the single best disposition but one whose scope is in

   proportion to the interest served, that employs not necessarily the least restrictive means

   but a means narrowly tailored to achieve the desired objective.’” FF Cosms. FL, Inc., 866

   F.3d at 1299 (internal citation omitted and cleaned up).

         The Supreme Court has made “clear that if the Government could achieve its

   interests in a manner that does not restrict speech, or that restricts less speech, the

   Government must do so.” Thompson v. W. States Med. Ctr., 535 U.S. 357, 371–72

   (2002). The existence of alternative laws that could “advance the Government’s asserted

   interest in a manner less intrusive to First Amendment rights indicate[s] that the law [is]

   more extensive than necessary.” Id. (internal ellipses and quotation marks omitted).

   “[T]here is a significant distinction between failing to employ less-restrictive means and

   completely disregarding obvious less-burdensome alternatives.” FF Cosms. FL,

   Inc., 866 F.3d at 1300 (emphasis added). “By ignoring far less restrictive and precise

   means, it is likely that an ordinance burdens substantially more speech than necessary.”

   Id.




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          Once again, Defendant provides no evidentiary support for this factor and has

   therefore failed to show that the statute is appropriately tailored.        See Ocheesee

   Creamery LLC v. Putnam, 851 F.3d 1228, 1240 (11th Cir. 2017) (finding that the state

   failed to satisfy its burden on this factor where it “has introduced no evidence at all” in

   support); Thompson, 535 U.S. at 371–72 (finding that the government did not satisfy its

   burden because “[t]here is no hint that the Government even considered . . . any other

   alternatives.”). There is no evidence in the record to demonstrate that Florida considered

   obvious, alternative policies that could advance the stated objectives without restricting

   speech. To prevent “discrimination,” Florida could have directly regulated “discriminatory”

   businesses practices, as opposed to the exchange of COVID-19 vaccination

   documentation. See Dana’s R.R. Supply, 807 F.3d at 1239 (“Any of the asserted interests

   . . . would be better served by direct and focused regulation of actual pricing behavior”).

   To address medical privacy concerns, the state could have prevented or placed

   limitations on businesses photocopying, keeping, or storing a copy of such

   documentation. Because he has not offered any reason why these or other possibilities

   would be insufficient—or that Florida even considered any alternative policies—

   Defendant has failed to show that the law is not more extensive than necessary.

          In sum, because Defendant has failed to show that Section 381.00316 would

   materially advance a substantial government interest or that it is appropriately tailored,

   Plaintiffs are likely to prevail on the merits of their First Amendment claim.




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                     2. NCLH’s Dormant Commerce Clause Claim

          Plaintiffs also argue that they are likely to prevail on the merits of their dormant

   Commerce Clause claim. (DE 3 at 21–23.) While the Commerce Clause expressly grants

   Congress the power to regulate interstate commerce, see U.S. Const. art. I, § 8, cl. 3,

   “‘[t]his affirmative grant of authority to Congress also encompasses an implicit or

   ‘dormant’ limitation on the authority of the States to enact legislation affecting interstate

   commerce.’” Fla. Transp. Servs., Inc. v. Miami-Dade Cty., 703 F.3d 1230, 1243 (11th Cir.

   2012) (quoting Healy v. Beer Inst., Inc., 491 U.S. 324, 326 n.1 (1989)). The dormant

   Commerce Clause “prevents a [s]tate from ‘jeopardizing the welfare of the Nation as a

   whole’ by ‘plac[ing] burdens on the flow of commerce across its borders that commerce

   wholly within those borders would not bear.’” Am. Trucking Ass’ns v. Mich. Pub. Serv.

   Comm’n, 545 U.S. 429, 433 (2005) (quoting Oklahoma Tax Comm’n v. Jefferson Lines,

   Inc., 514 U.S. 175, 180 (1995)).

          The dormant Commerce Clause not only limits the authority of states to enact laws

   that affirmatively discriminate against out-of-state actors, but it also limits the authority of

   states to enact laws that indirectly affect—that substantially burden—interstate

   commerce. Thus, courts examine laws challenged under the dormant Commerce Clause

   “using a two-tiered analysis.” Fla. Transp. Servs., Inc., 703 F.3d at 1243.

                             i. The first tier of analysis

          Under the first tier of analysis, courts determine “whether the law or regulation [at

   issue] ‘directly regulates or discriminates against interstate commerce, or has the effect

   of favoring in-state economic interests.’” Id. (quoting Island Silver & Spice, Inc. v.

   Islamorada, 542 F.3d 844, 846 (11th Cir. 2008) (internal quotations omitted)). “The



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   central rationale for the rule against discrimination is to prohibit state or municipal laws

   whose object is local economic protectionism . . . .” C & A Carbone, Inc. v. Town of

   Clarkstown, 511 U.S. 383, 390 (1994). When a state statutory scheme “‘directly regulates

   or discriminates against interstate commerce, or when its effect is to favor in-state

   economic interests over out-of-state interests, [courts] have generally struck down the

   statute without further inquiry.’” Bainbridge v. Turner, 311 F.3d 1104, 1108-09 (11th Cir.

   2002) (quoting Brown-Forman Distillers Corp. v. New York State Liquor Auth., 476 U.S.

   573, 579 (1986)). “Only if such a regulation is shown to ‘advance[] a legitimate local

   purpose that cannot be adequately served by reasonable nondiscriminatory alternatives’

   will it be upheld.” Bainbridge, 311 F.3d at 1109 (quoting New Energy Co. of Ind. v.

   Limbach, 486 U.S. 269, 278 (1988)).

           Here, the Court finds that the first tier of analysis does not apply. 40 Section

   381.00316 does not directly regulate, or affirmatively discriminate against, interstate

   commerce. Moreover, the Statute is applicable to both out-of-state and in-state business

   entities that operate in the State of Florida. Therefore, the Statute does not implicate

   concerns about local economic protectionism raised by courts that apply the first tier of

   analysis. See Carbone, 511 U.S. at 390.

                                ii. The second tier of analysis and the Pike balancing test

           The dormant Commerce Clause inquiry does not end at tier one. Rather, courts

   move to the second tier of analysis: if a state’s facially nondiscriminatory law “advances

   a legitimate local interest and has only ‘indirect effects on interstate commerce,’ [courts]


   40 This finding is undisputed. Plaintiffs concede that Fla. Stat. § 381.00316 “does not discriminate by
   favoring in-state businesses over out-of-state businesses” (DE 3 at 22), and accordingly, Plaintiffs did not
   examine discrimination under the first tier of analysis in their motion for preliminary injunction. (See id. at
   21-23.) Nor did Defendant in his response. (DE 32 at 23–24.)

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   apply the balancing test from Pike v. Bruce Church, Inc., 397 U.S. 137 (1970), and

   invalidate the law only if ‘the burden on interstate commerce clearly exceeds the local

   benefits [to the state].’” Fla. Transp. Servs., Inc., 703 F.3d at 1244 (quoting Island Silver

   & Spice, Inc., 542 F.3d at 846) (internal quotations omitted)); see also Dep’t of Revenue

   of Ky. v. Davis, 553 U.S. 328, 353 (2008) (“[T]hat a state law does not amount to forbidden

   discrimination against interstate commerce is not the death knell of all dormant

   Commerce Clause challenges, for we generally leave the courtroom door open to

   plaintiffs invoking the rule in Pike, that even nondiscriminatory burdens may be struck

   down on a showing that those burdens clearly outweigh the benefits of a state or local

   practice.”).

          In Pike, the Supreme Court determined that when a state statute “regulates even-

   handedly to effectuate a legitimate local public interest, and its effects on interstate

   commerce are only incidental, it will be upheld unless the burden imposed on such

   commerce is clearly excessive in relation to the putative local benefits.” 397 U.S. at 142

   (emphasis added). “This test is more permissive, but a statute that imposes burdens on

   commerce that clearly outweigh the local benefits will fail.” Island Silver & Spice, Inc.,

   475 F. Supp.2d 1281, 1289 (S.D. Fla. 2007) (citing Brown-Forman Distillers Corp., 476

   U.S. at 579), aff’d, 542 F.3d 844 (2008). A state “cannot avoid th[is] second stage of the

   inquiry simply by invoking [a] legitimate state interest underlying [a statute].” Am.

   Libraries Ass’n v. Pataki, 969 F. Supp. 160, 178 (S.D.N.Y. 1997) (emphasis added); see

   also Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333, 350 (1977) (“[A] finding

   that state legislation furthers matters of legitimate local concern, even in the health and

   consumer protection areas, does not end the inquiry.”); Bibb v. Navajo Freight Lines, 359



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   U.S. 520, 529 (1959) (“[L]ocal safety measures that are nondiscriminatory [and thus

   presumptively valid may nonetheless] place an unconstitutional burden on interstate

   commerce.”).

          The Pike balancing test is a fact-sensitive inquiry. 397 U.S. at 142 (citing S. Pacific

   Co. v. Arizona, 325 U.S. 761 (1945)) (“If a legitimate local purpose is found, then the

   question becomes one of degree. And the extent of the burden that will be tolerated will

   of course depend on the nature of the local interest involved . . . .”); see also 8 Erie St.

   JC LLC v. City of Jersey City, 2021 WL 689147, at *5 (D.N.J. Feb. 19, 2021) (describing

   the Pike balancing test as a “fact sensitive inquiry”); Teladoc, Inc. v. Tex. Med. Bd., 2015

   WL 8773509, at *12 (W.D. Tex. Dec. 14, 2015) (quoting Colon Health Ctrs. of Am., LLC

   v. Hazel, 733 F.3d 535, 546 (4th Cir. 2013)) (“This inquiry is inherently fact-intensive . . .

   . ‘[t]he Pike inquiry, like the discrimination test, is fact-bound.’”). In applying the Pike

   balancing test, courts consider whether states could have implemented alternatives that

   impose smaller, less substantial burdens on interstate commerce. Pike, 397 U.S. at 142;

   see also Fla. Transp. Servs., Inc., 703 F.3d at 1261 (determining that “reasonable and

   less burdensome alternatives would have served [the government’s] purposes, but the

   actual [ordinance challenged under the dormant Commerce Clause] did not.”); Diamond

   Waste, Inc. v. Monroe Cty., Ga., 939 F.2d 941, 946 (11th Cir. 1991) (“[U]nder the

   particular circumstances at issue, the fact that less restrictive alternatives are available to

   [the government] makes the burden imposed by the [statute] clearly excessive in relation

   to the local benefits created.”). For example, in Minnesota v. Clover Leaf Creamery

   Company, the Supreme Court upheld the constitutionality of a state law that prohibited

   the sale of milk in plastic containers, because “no approach with ‘a lesser impact on



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   interstate activities’ [was] available.” 449 U.S. 456, 473 (1981) (internal citations omitted)

   (quoting Pike, 397 U.S. at 142).

                           iii. Applying the Pike balancing test

                                   1. Legitimate local purpose

          In his brief, three-paragraph response to Plaintiffs’ dormant Commerce Clause

   argument, Defendant fails to specifically articulate any local purpose that justifies the

   Statute’s alleged burdens on interstate commerce pursuant to Pike. (See DE 32 at 23–

   24.) In the absence of any articulated local purpose, the Court need not move any further

   in the Pike analysis. See Pike, 397 U.S. at 142 (noting that “a legitimate local purpose

   [must be] found” for courts to apply the fact-sensitive balancing test) (emphasis added).

   However, based on Defendant’s briefing regarding the First Amendment, the Court

   presumes that Florida’s decision to enact Section 381.00316 reflects the state’s desire to

   safeguard its residents’ rights to medical privacy and prevent “discrimination” against

   unvaccinated residents. (See DE 32 at 7 (quoting DE 16-1 at 3–4)).

          Outside of conclusory characterizations of Florida’s commitment to these concepts

   as local purposes, Defendant fails to articulate why they are legitimate local purposes or

   how they weigh against any burdens that the Statute imposes on interstate commerce.

   Defendant’s mere assertion of protecting medical privacy and preventing “discriminating”

   against unvaccinated persons, without more, fails to satisfy the dictates of Pike and its

   progeny. See Pike, 397 U.S. at 142 (noting that “a legitimate local purpose [must be]

   found” for courts to apply the fact-sensitive balancing test); Island Silver & Spice, Inc.,

   542 F.3d at 847 (“The district court properly determined that, although ‘[i]n general,

   preserving a small town community is a legitimate purpose . . ., in this instance, [the



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   defendant] has not demonstrated that it has any small town character to preserve.”)

   (emphasis added); Bainbridge, 311 F.3d at 1114 (“This does not mean, however, that the

   State can prevail without evidence. . . .[w]e find it inadequate the State’s proffered

   concerns of protecting minors and ensuring orderly markets.”).                       And as previously

   explained, Defendant cites to no relevant authority to support his claim that these

   objectives constitute legitimate state interests. See supra at 32.

           Furthermore, Section 381.00316 does not actually advance the objectives of

   protecting “medical privacy” and “discrimination” against unvaccinated individuals in any

   meaningful way. See supra at 32–37. Among other reasons already discussed, Florida’s

   failure to regulate employers, COVID-19 test results, and other medical documentation—

   including documentary proof-of-vaccination requirements for schoolchildren—conflicts

   with its purported desire to protect medical privacy. 41 See supra at 36–37. The statute

   also does not actually protect against the “discrimination” of unvaccinated individuals. As

   explained, cruise lines have adopted measures and practices that differentiate between

   vaccinated and unvaccinated passengers. See supra at 33–36.

           This Court confronted a similar quandary in Island Silver & Spice, Inc. v.

   Islamorada. The Village of Islamorada, Florida enacted an ordinance that restricted the

   types and sizes of stores that could occupy certain commercial establishments, in an

   effort “to serve local business interests by preventing competition from national chains . .

   . . [and] preserv[e] a small town community.” 475 F. Supp. 2d 1281, 1291-92 (S.D. Fla.

   2007), aff’d, 542 F.3d 844 (2008). After Islamorada cited to the ordinance to prevent a


   41 Additionally, there is no record evidence that Plaintiffs intend to maintain or store COVID-19 vaccination

   documentation for any period of time. Plaintiffs stated at oral argument that they use documentary proof of
   vaccination for verification purposes only and do not at all maintain, store, or transmit this type of
   information.

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   developer from establishing a Walgreens Pharmacy in the village, the developer

   challenged the ordinance’s constitutionality, arguing that it violated the dormant

   Commerce Clause. See 475 F. Supp. 2d at 1283–89. While the ordinance prohibited the

   developer from building a Walgreens, it did not restrict existing national chains in

   Islamorada from continuing to operate, or interfere with the construction of a CVS

   Pharmacy. Id. at 1292. Given this paradox, this Court found that the ordinance failed to

   advance the local purposes that Islamorada articulated, because it could not hold out as

   legitimate a local purpose that other, existing laws, regulations, and practices clearly

   contradicted. See id. Accordingly, Defendant has failed to articulate how the goals of

   medical privacy and antidiscrimination are fulfilled by the express terms of the Statute.

                                   2. Burdens on interstate commerce

          Plaintiffs are likely to succeed on the merits in showing that Section 381.00316

   imposes substantial burdens on interstate commerce that will directly affect their abilities

   to operate the Norwegian Gem and other vessels. Plaintiffs contend that, because

   “NCLH’s vessels reach international waters and sail to interstate and foreign ports, many

   of which require proof of vaccination to enter without testing . . . . [Section 381.00316] has

   the effect of blocking or hampering the operation of cruise lines in and out of Florida . . . .

   excessively burden[ing] the free flow of commerce between States and between Nations.”

   (DE 3 at 22–23.) Frank J. Del Rio, NCLH’s President and CEO, stated that “[m]any

   foreign ports require proof of vaccination to enter, proof of vaccination to enter without a

   mandatory quarantine, or proof of vaccination to enter without testing . . . . [and] NCLH

   has scheduled several upcoming voyages to foreign ports that require proof of vaccination

   to enter without testing, including Belize, [the] Bahamas, [the] British Virgin Islands, and



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   Honduras.” (DE 3-1 at ¶¶ 17–18.) Sailing schedules submitted by Defendant list NCLH

   vessels scheduled to depart from Miami, Florida during the next few months (see DE 33-

   1 at 24–34), and “[s]tarting August 15, 2021, NCLH’s cruise ship Norwegian Gem will offer

   several passenger revenue voyages from Florida to the Bahamas, Honduras, Belize,

   Mexico, the Dominican Republic, the U.S. Virgin Islands, and the British Virgin Islands.”

   (DE 3-1 at ¶ 23.) Plaintiffs state that, if they cannot require documentary proof of COVID-

   19 vaccination, their vessels and passengers will be forced to “re-route around Florida or

   else go through tortured, costly, time-consuming, damaging contortions in order to go to

   or from Florida relative to other ports, none of which have any such Ban and many of

   which require proof of vaccinations.” (DE 35 at 14.)

          In response, Defendant argues that Plaintiffs “can comply with the requirements of

   the foreign ports to which it plans to sail,” since some foreign nations allow individuals to

   enter without providing COVID-19 vaccination documentation, so long as they undergo

   testing and/or quarantine for certain periods of time. (DE 32 at 24 (internal quotations

   omitted).) Defendant asserts that, just because Plaintiffs “might prefer to document the

   vaccination status of its passengers instead of testing them does not turn Florida’s []

   statute into an unconstitutional burden on interstate or international commerce in violation

   of the dormant Commerce Clause.” (Id.)

          It is undisputed that nearly every country and port that Plaintiffs intend to set sail

   to during the remainder of the year have varying, often complicated requirements. (See

   DE 3-1 at ¶¶ 17–18.) It is also clear that COVID-19 vaccination documents are the

   fulcrum of many of these requirements. For instance, any person 18 years or older, who

   is traveling internationally to the Bahamas, must apply for a Bahamas Travel Health



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   Visa. 42     To apply, the traveler must create a profile on a website operated by the

   Bahamian government. 43 Bahamas requires travelers to indicate their vaccination status.

   Fully-vaccinated travelers are “required to upload valid proof of vaccination . . . .

   confirm[ing] [that] they have passed [a] two-week immunity period.” 44 On the other hand,

   unvaccinated travelers are required “to upload their negative COVID-19 PCR test results

   . . . . [which] must be taken no more than 5 days prior to the date of arrival.”45

   Unvaccinated travelers must also complete a daily health survey during their trip and,

   unless they depart the Bahamas on or before five days after their arrival, unvaccinated

   travelers must take a COVID-19 test. 46

              In Belize, travelers must present documentary proof of COVID-19 vaccination,

   “reflecting the receipt of the dual or single dose vaccine at least two weeks prior to

   arrival.” 47   Adult travelers who “cannot provide proof of immunization“ must do the

   following: (1) present documentary proof of a negative COVID-19 PCR test “taken within

   96 hours of travel”; (2) present documentary proof of a negative “Rapid Antigen, Sofia,

   SD Biosensor, [or] ABBOTT (Panbio) test taken no more than 48 hours prior to travel”; or




   42 Bahamas Travel Compliance Unit, Bahamas Travel Health Site, https://travel.gov.bs/ (last visited Aug. 6,

   2021).

   43   Id.
   44   Id.

   45   Id.

   46   Id.
   47  Belize Tourism Bd., Belize COVID-19 Update, https://www.belizetourismboard.org/news-and-
   gallery/belize-covid-19-update (last visited Aug. 7, 2021).


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   (3) take a COVID-19 test upon arrival. 48 Children who are at least five years old ”must

   present a negative COVID test.” 49

              The British Virgin Islands, an overseas territory of the United Kingdom, has

   implemented extensive COVID-19 protocols for persons entering from abroad. As of July

   12, 2021, all foreign travelers, regardless of vaccination status, must do the following to

   enter the British Virgin Islands: (1) present documentary evidence of a negative COVID-

   19 PCR test or “an approved rapid antigen test” within five days of travel to the British

   Virgin Islands; (2) take “an approved rapid antigen SARS COV-2 test” on the day of the

   traveler’s arrival to the British Virgin Islands “and quarantine until a negative test result is

   received”; and (3) obtain “a BVI Gateway Traveller Authorisation Certificate at a cost of

   $50.”50 Travelers who decline to present documentary proof of vaccination (showing that

   it has been at least two weeks since they received a single-dose vaccine or the second

   dose of a two-dose vaccine) must quarantine for at least four full days upon arrival to the

   British Virgin Islands. 51

              Even in U.S. territories, divergent requirements have made it difficult—if not

   impossible—for cruise lines to comply with Section 381.00316. Plaintiffs have indicated

   that their vessels are “scheduled to travel to U.S. territories, such as Puerto Rico and the

   U.S. Virgin Islands . . . .” (DE 3 at 22 (citing DE 3-1, at ¶ 23.)) The U.S. Virgin Islands

   recently shared its plan to “implement a new requirement that all passengers ages 12 and


   48   Id.

   49   Id.

   50British Virgin Islands Tourism, Reopening, https://www.bvitourism.com/reopening (last visited Aug. 7,
   2021).

   51   Id.


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   older traveling onboard a cruise ship must be fully vaccinated in order for the ship to be

   allowed entry into St. Thomas,” the most-populous island in the U.S. Virgin Islands where

   many cruise ships dock. 52 These plans have already affected two Royal Caribbean

   vessels scheduled to depart on August 8, 2021 from Florida to the U.S. Virgin Islands. 53

   As of the date of this Order, Royal Caribbean now requires passengers on those vessels

   who are 12 and older to “provide documentation of full vaccination at the terminal [in Port

   Canaveral, Florida] as a condition to boarding.” 54

              Amid myriad, rapidly-changing requirements regarding quarantining and testing,

   there is one constant that facilitates cruise line customers’ access to advertised ports of

   call: documentary proof of vaccination will expedite passengers’ entry into virtually every

   single country and port where Plaintiffs intend to sail.               On the other hand, without

   documentary proof of vaccination, protocols vary so markedly—and change so frequently,

   especially as the Delta Variant becomes more widespread—to make it not only

   impractical, but also financially, legally, and logistically onerous for cruise lines like NCLH

   to comply. Defendant has not refuted evidence furnished by Plaintiffs that shows that

   “[t]esting is an important adjunct measure but cannot serve as a substitute for vaccination

   . . . . [because] tests are susceptible to false positive and false negative results, even

   when repeated testing is done.” (DE 3-4 at 3.) Moreover, quarantining and advance-



   52Royal Caribbean COVID-19 Protocols, supra note 37. On August 2, 2021, Royal Caribbean International
   announced that “the Government of the United States Virgin Islands ha[d] informed [them] of [these] plans”
   regarding vaccination. Id.

   53   Id.

   54 Id.; see also Richard Tribou, US Virgin Islands vaccine requirement throws wrinkle into Florida cruise

   plans, Orlando Sentinel (Aug. 4, 2021 11:08 AM), https://www.orlandosentinel.com/business/tourism/os-
   bz-virgin-islands-vaccine-requirement-florida-cruises-20210804-23tiusoawzhntemkmb4wdiodbe-
   story.html.

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   testing requirements can be impractical as applied to the cruise line industry, given that

   vessels typically dock, disembark at, and depart from a foreign or interstate port for

   another, all in one day. For example, Plaintiff Oceania Cruises’ MS Marina, which is

   scheduled to depart from Miami, Florida on December 1, 2021, is slated to land at two

   Belizean ports on December 5 and 6 and depart for Honduras the following day. (DE 33-

   1 at 25.)   Consequently, the “tortured, costly, time-consuming, damaging contortions”

   (DE 35 at 14) presented by ensuring that every passenger complies with an array of

   interstate and international laws, regulations, and protocols regarding testing and

   quarantining—instead of simply requiring proof of vaccination—are so burdensome that

   it tips the scales in the Court’s application of the Pike balancing test.

          Section 381.00316 presents an impediment to commerce analogous to an Illinois

   law that required trucks to use curved mudguards. See Bibb v. Navajo Freight Lines, Inc.,

   359 U.S. 520 (1959).         In Bibb, the Supreme Court held that an Illinois law

   unconstitutionally burdened interstate commerce in part because trucks traveling through

   Illinois from other states could not reasonably comply with the state’s law requiring curved

   mudguards when Arkansas required, and nearly every other state permitted, trucks to

   use straight mudguards. Id. at 527. The Supreme Court stated that “[a] State which

   insists on a design out of line with the requirements of almost all the other States may

   sometimes place a great burden of delay and inconvenience on those interstate motor

   carriers entering or crossing its territory.” Id. at 529–30. And while such a design “may

   be so compelling that the innovating State need not be the one to give way,” the Supreme

   Court determined that Illinois had not met that showing when balanced against “the clear

   burden on commerce.” Id. at 530; see also Air Transp. Ass’n of Am., Inc. v. Healey, 2021



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   WL 2256289, at *9 (D. Mass. June 3, 2021) (“[A] statute that causes disruptions to and/or

   delays in interstate travel can impose a burden under the dormant Commerce Clause . .

   . .”).

            Plaintiffs “operate extensively in interstate [and international] commerce,” Bibb,

   359 U.S. at 528, navigating vessels in and out of U.S. waterways and the ports of various

   states, U.S. territories, and other nations. Section 381.00316 imposes a prohibition on

   documentary proof of vaccination that is completely “out of line” with the laws and

   regulations applicable to other states, U.S. territories, and foreign nations where cruise

   lines operate. Id. at 529–30. Complying with the Statute prevents NCLH and other cruise

   lines from operating vessels optimally with regard to safety—as advertised—and

   consistent with the business acumen, expertise, and judgment of its principals. (See DE

   3-1 at ¶¶ 15, 25, 26 (declaration of Frank Del Rio, NCLH’s CEO, stating that “[u]nless it

   is able to verify vaccination status, NCLH’s ability to attract and assure its passengers will

   be severely undercut . . . . [Section 381.00316] creates grave liability risks and substantial

   compliance obstacles for NCLH and forces NCLH into a dangerous dilemma . . . . [and

   only] by verifying the vaccination status of cruise passengers can we best guard against

   the introduction of COVID-19 aboard our ships and the potential spread thereof.”); DE 3-

   3 at ¶ 13 (declaration of Dr. Jukka Laitamaki, Plaintiffs’ brand consultant and a business

   strategy professor, stating that NCLH’s inability to keep its promise to passengers of a

   fully vaccinated cruise “would threaten NCLH’s brand trust, especially given that many of

   its passengers likely bought tickets, made plans, and incurred costs based on this

   promise.”); DE 3-4 at ¶ 20 (declaration of Dr. Stephen Ostroff, epidemiologist, Healthy

   Sail Panel member, and former Acting Administrator of the U.S. Food and Drug



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   Administration, stating that “[n]o other approach to verifying vaccinations is as effective

   or reliable . . . . [and only] documentation can supply appropriate proof.”)). Further,

   Section 381.00316 will prevent NCLH and other cruise lines from possessing verified

   information necessary to effectively and efficiently process landing and disembarking at

   various, preferred domestic and international ports where documentary proof of

   vaccination is required. This affects not only opportunities for vacation activities like

   sightseeing, but also responses to mechanical and medical emergencies, or even

   geopolitical crises. Depriving cruise lines of corroboration of passengers’ vaccination

   status impedes their ability to prepare and address these eventualities.

          If Plaintiffs abandon their plan to require all passengers to present documentary

   proof of vaccination (see DE 3-1, at ¶¶ 13–15), and passengers must instead be

   subjected to an array of diverse quarantining and testing requirements, it will impede the

   ability of Plaintiffs to manage the business of vessels at foreign and interstate ports and

   lead to incalculable and unpredictable delays in travel. And “[w]hether and how easily

   [Plaintiffs] could mitigate any increase in delays speaks to how burdensome [Section

   381.00316] is rather than to whether a burden exists . . . in the first instance.” Air Transp.

   Ass’n of Am., Inc., 2021 WL 2256289, at *9 (emphasis in original). It is therefore likely

   that Plaintiffs can show on the merits a strong likelihood that Section 381.00316 places a

   “heavy burden” on the “interstate [and international] movement” of cruise line vessels,

   thereby “pass[ing] the permissible limits” of a state’s police power and unconstitutionally

   burdening interstate commerce. Bibb, 359 U.S. at 530.




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                                   3. Availability of less-restrictive alternatives

          Although Defendant also fails to address the issue of less-restrictive alternatives

   in his discussion on the dormant Commerce Clause, it is likely that Plaintiffs can show at

   the merits stage that there are alternatives that impose lesser burdens on interstate

   commerce. The cruise line industry is a unique sector whose entire business model

   depends on operators’ abilities to traverse across various federal, state, local, and

   international jurisdictions in a matter of days and even hours—each with different laws,

   regulations, and protocols. At the same time, scientific research shows that cruise lines

   are hotbeds for COVID-19 transmission. See discussion at supra 5–6. Therefore, the

   cruise line industry must navigate the unpredictable nature of the ever-developing

   COVID-19 pandemic while complying with regulations on quarantining, testing, and

   vaccination.

          While the Statute creates an exemption for health care and service providers, see

   Fla. Stat. § 381.00316(5) (“This section does not apply to a health care provider . . . a

   service provider . . . or a provider with an active health care clinic exemption . . . .”) and

   does not apply to employers, it does not create a similar exception for cruise lines. In his

   response, Defendant fails to articulate why a less restrictive alternative would not have

   addressed Florida’s purportedly legitimate concerns. For example, Florida could have

   adopted a narrow carve out that specifically exempts cruise line operators that travel in

   and through international waterways from complying with the Statute. Florida also could

   have carved an exemption for interstate activities and services, such as international

   cruises and private bus excursions. While these examples are “not an exhaustive list of

   alternatives available” to Florida, they show that the state could have “avoid[ed] burdening



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   interstate commerce while feasibly” pursuing its purportedly legitimate objectives.

   Diamond Waste, Inc., 939 F.2d at 945. Defendant’s failure to adopt a less restrictive

   alternative—and failure to respond to the suggestion that less restrictive measures would

   suffice—undermine the survival of Section 381.00316 when applying the Pike balancing

   test.

           Consequently, this is a case where “measures that are [facially] nondiscriminatory

   place an unconstitutional burden on interstate commerce.” Bibb, 359 U.S. at 529.

   Therefore, as applied to Plaintiffs, and at this stage of the proceedings, because

   Defendant fails to provide a valid evidentiary, factual, or legal predicate for the local

   benefits that purportedly justify Section 381.00316’s restrictions, Plaintiffs have shown

   that the Statute is likely to fail the Pike balancing test and is likely unconstitutional under

   the dormant Commerce Clause. 55

                        3. Preemption Claim




   55 In a footnote to his three-paragraph response, Defendant has “reserve[d] the right to challenge the

   [dormant Commerce Clause] doctrine in the Supreme Court.” (DE 32 at 23 n.10.) The Court acknowledges
   that, as with many constitutional doctrines, the reach of the dormant Commerce Clause is the subject of
   vigorous, judicial, and scholarly discussion. However, neither party suggests that the two-tiered analysis is
   not the standard to be applied by this Court to determine whether a statute violates the dormant Commerce
   Clause. The Pike balancing test also uncontrovertibly remains governing precedent in the Nation and this
   circuit. See, e.g., South Dakota v. Wayfair, Inc., 138 S. Ct. 2080, 2091 (2018) (quoting Pike, 397 U.S. at
   142) (“State laws that ‘regulat[e] even-handedly to effectuate a legitimate local public interest . . . will be
   upheld unless the burden imposed on such commerce is clearly excessive in relation to the putative local
   benefits.’”); id. at 2099-2100 (contemplating applying “the balancing framework of Pike” and stating that a
   state’s tax requirements “includes several features that appear designed to prevent discrimination against
   or undue burdens upon interstate commerce”); Fla. Transp. Servs., Inc. v. Miami-Dade Cty., 703 F.3d 1230,
   1257-62 (11th Cir. 2012) (affirming district court decision that determined a county applied an ordinance in
   violation of the dormant Commerce Clause); Island Silver & Spice, Inc. v. Islamorada, 542 F.3d 844, 846
   (11th Cir. 2008) (affirming district court decision that determined a Florida village’s ordinance violated the
   dormant Commerce Clause). Moreover, while statutes challenged under the dormant Commerce Clause
   have survived Pike balancing, the fact-sensitive nature of this inquiry means that every matter and every
   set of facts present unique circumstances that may lead to different outcomes. See Wayfair, Inc., 138 S.
   Ct. at 2094 (2018) (quoting West Lynn Creamery, Inc. v. Healy, 512 U.S. 186, 201 (1994)) (“The Court’s
   Commerce Clause jurisprudence has ‘eschewed formalism for a sensitive, case-by-case analysis of
   purposes and effects.’”).

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          Finally, Plaintiffs argue that they are likely to succeed on their Preemption claim.

   NCLH asserts that the Statute is preempted because by restricting its ability to verify the

   vaccination status of passengers, the law impedes its ability operate in accordance with

   the framework established by the CSO, the Instructions, and the Manual. (DE 3 at 9–12.)

   Specifically, NCLH argues that the Statute impairs its ability to fulfill its obligation to the

   CDC pursuant to its certification for the Attestation Method and take advantage of the

   leniency offered to ships with 95 percent vaccinated passengers under the Manual. (DE

   3 at 9–12.) Defendant responds by arguing, inter alia, that the CSO and subsequent

   instructions cannot preempt state law because they are unlawful. (DE 32 at 7–15.)

          Because Plaintiffs have shown a likelihood of success on the merits on their First

   Amendment and dormant Commerce Clause claims, the Court need not address the

   Preemption claim at this stage. Nevertheless, the Court notes that Plaintiffs have raised

   compelling arguments as to why the Statute is conflict preempted by the CDC’s

   guidelines. See Geier v. Am. Honda Motor Co., 529 U.S. 861 (2000). The Court will

   address these arguments at a later stage of the proceeding.

             B. NCLH has shown that absent a preliminary injunction, it would be
                irreparably injured

          On several independent grounds, Plaintiffs have demonstrated that they will suffer

   irreparable injury absent entry of a preliminary injury.       As the Eleventh Circuit has

   recognized, “[a] showing of irreparable injury is ‘the sine qua non of injunctive relief.”

   Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (quoting Ne. Fla. Chapter of the

   Ass’n of DGen. Contractors v. City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990)).

   “Irreparable injury ‘must be neither remote nor speculative, but actual and imminent.’” Id.

   at 1176–77. “The harm considered by the district court is necessarily confined to that


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   which might occur in the interval between ruling on the preliminary injunction and trial on

   the merits.” United States v. Lambert, 695 F.2d 536, 540 (11th Cir. 1983).

          First, because Plaintiffs have established that they are substantially likely to

   succeed on the merits of their First Amendment claim, the continued enforcement of

   Section 381.00316 against them constitutes an irreparable injury. The Supreme Court

   has explained that “[t]he loss of First Amendment freedoms, for even minimal periods of

   time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373

   (1976) (citing New York Times Co. v. United States, 403 U.S. 713, 91 S.Ct. 2140, 29

   L.Ed.2d 822 (1971)); see also FF Cosms. FL, Inc., 866 F.3d at 1298 (“The district court

   correctly noted that an ongoing violation of the First Amendment constitutes an

   irreparable injury.”).

          NCLH has also shown that if they are required to comply with the Statute, they

   would suffer irreparable injury from the loss reputation, trust, and goodwill. See Ferrellgas

   Partners, L.P. v. Barrow, 143 F. App'x 180, 190 (11th Cir. 2005) (“[g]rounds for irreparable

   injury include loss of control of reputation, loss of trade, and loss of goodwill.”) (internal

   citation omitted). The undisputed record establishes that if Plaintiffs could not require

   passengers to provide COVID-19 vaccination documentation, the company would have

   no other reliable method for ensuring that all passengers have been vaccinated. (DE 3-

   1 at ¶ 29.) Consequently, NCLH would have no choice but to either cancel its itinerary

   for the Norwegian Gem (and other ships that plan to leave from or arrive to Florida) or

   suspend its vaccination policy. (DE 3-1 at ¶¶ 28–31, 34; DE 3-3 at ¶¶ 12–13.) Either

   option would injure NCLH’s reputation, trust, and goodwill among customers who were

   promised a vaccination requirement before October 31, 2021, as well as the 20,000



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   people who have already booked tickets for voyages on ships departing from or arriving

   to Florida between now and January 2022. (DE 3-1 at ¶ 28; DE 3-3 at ¶¶ 13, 16, 32.) In

   his affidavit, Frank Del Rio, NCLH’s CEO, stated that cancellations would disrupt

   passengers’ travel plans, which would “caus[e] NCLH to suffer a loss of goodwill.” (DE

   3-1 at ¶ 32.) Dr. Jukka Laitamaki, Plaintiffs’ brand consultant and a business strategy

   professor, opined that suspending the policy would tarnish NCLH’s reputation because a

   vaccination requirement is “a powerful tool” for countering customers’ fears of COVID-19.

   (DE 3-3 at ¶ 16.) She further explained that allowing unvaccinated guests onboard

   increases the risks of COVID-19 transmission and “NCLH’s brand trust would be severely

   harmed and could be destroyed if there were an outbreak of COVID-19 on any of its cruise

   ships.” (Id. at ¶ 12.) Defendant presents no evidence to refute NCLH’s assertion that

   absent an injunction, it would suffer significant reputational damage.

         Finally, Plaintiffs have shown that without an injunction, they would suffer monetary

   losses, which they would not be able to recover from the state because of sovereign

   immunity. “In the context of preliminary injunctions, numerous courts have held that the

   inability to recover monetary damages because of sovereign immunity renders the harm

   suffered irreparable.” Odebrecht Const., Inc. v. Sec'y, Fla. Dep't of Transp., 715 F.3d

   1268, 1289 (11th Cir. 2013); ABC Charters, Inc. v. Bronson, 591 F. Supp. 2d 1272, 1310

   (S.D. Fla. 2008) (“In cases where the defendant is immune from a claim for damages

   such as claims against the state barred by Eleventh Amendment immunity, irreparable

   harm is presumed.”). As previously explained, the undisputed record establishes that

   without a preliminary injunction, NCLH would likely be forced to cancel the itinerary for

   the Norwegian Gem and other ships. Mr. Del Rio stated that “[t]he cancellation could cost



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   NCLH approximately $4 million in lost revenues per seven-day cruise.” (DE 3-1 at ¶ 31.)

   And Defendant has not rebutted NCLH’s assertion that absent an injunction, it is likely to

   suffer significant financial losses. For these reasons, NCLH has demonstrated that

   without a preliminary injunction, it would be irreparably injured.

             C. NCLH has shown that the equities and public interest weigh in favor
                of an injunction

          “The third and fourth factors ‘merge’ when, as here, the government is the

   opposing party.” Gonzalez, 978 F.3d at 1271. Because Plaintiffs have shown that

   Section 381.00316 is likely an unconstitutional statute under the First Amendment and

   the dormant Commerce Clause, the balance of harm and the public interest weigh in their

   favor. See Odebrecht, 715 F.3d at 1290 (“[t]he public has no interest in the enforcement

   of what is very likely an unconstitutional statute.”); KH Outdoor, LLC v. City of Trussville,

   458 F.3d 1261, 1272 (11th Cir. 2006) (“As noted, even a temporary infringement of First

   Amendment rights constitutes a serious and substantial injury, and the city has no

   legitimate interest in enforcing an unconstitutional ordinance. For similar reasons, the

   injunction plainly is not adverse to the public interest. The public has no interest in

   enforcing an unconstitutional ordinance.”).

          Moreover, as discussed, while Plaintiffs advance substantial unrebutted evidence

   showing that they are likely to suffer significant financial and reputational harms absent

   an injunction, Defendant fails to articulate or provide any evidence of harms that the state

   would suffer if an injunction was entered. And while NCLH has demonstrated that public

   health will be jeopardized if it is required to suspend its vaccination requirement,

   Defendant identifies no public benefit from the continued enforcement of the Statute




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   against NCLH. For these reasons, the balance of equities and the public interest 56 also

   weigh in favor of an injunction.

        IV.      CONCLUSION

              For the foregoing reasons, Plaintiffs’ Motion for Preliminary Injunction (DE 3) is

   GRANTED. Defendant is ENJOINED from enforcing Section 381.00316 against Plaintiffs

   pending resolution of the merits of this case.

              DONE AND ORDERED in Chambers in Miami, Florida on this 8th day of August,

   2021.




   56As Judge Leichty noted in Klaassen, “in times of crisis, perhaps constitutional adherence proves the very
   anchor we all need against . . . government intrusion that would otherwise scuttle the ship.” 2021 WL
   3073926, at *17.


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